                           EXHIBIT "Au


           CAFV CASE NO:    IBe.I1CXX2332..
            CERTIFIED   MAIL NO: ISEE ATTACHEDI




pg.   ]4
Cl'rtihed Mail Number:       'Joll.        QIV()   M)O:~yqC3                o1lk_

 To:
                                                                   from:
 Attn: Juhf' Whill' 01 hf'1 ~Ulct'~~OI                             Secured Party/Creditor
 lJ.BA PROSfCUTING      ATIORNfY                                   Brian.   Arthur:   Wl'fSC-

 OHICf' thf Statl' Attornry                                         (/0 749] Huntinr.C,eekRoad
 41605 (ourthou~f Oriv['                                            Huntinr.town, Maryland
 PO BOX 17SS                                                        Inear 70639)
 l<,onaldtown Maryland 70&,0                                        Non.Domesti( / Non.Aswmpsit



RE: CONDITIONAL ACCEPTANCE FOR VALUE (CAFV) - PRIVATE INDEPENDENT ADMINISTRATIVE
PROCESS_ ARTiClE 1 REDRESSOF GRIEVANCEUNDER THE NINETH AMENDMENT RESERVATIONfOR
THE RESOLUTIONAND EQUITABLESmLEMENT UNDER NECESSITY.IN THE NATURE OF REQUESTfOR
PROOFOF CLAIM/DISCOVERY.
                    Case/Associated NumbPf: K09-4S8 (hereinalter CAN)


           NOTICETO AGENT ISNOliCE 10 PRINCIPALNOTICETO PRINCIPALISNOliCE TO AGENT



 Dear Julie While   OJ   her succe~sor - hereinafter     Re~pondent,

          I am in receipt of the judgment/presentment/offer imposed under CAN and I agree to abide by
 the stipulations thereof upon your providing PROOf OF CLAIMS in the Nature of Dis(overy (evidence).
 exhausting my private administrative remedy from your office. Therefore. I ,eek PROOF OF CLAIM in
 regards to CAN, and/or that thf charging instrument       the Saint Mary's (ounty Maryland Circuit
 Court/actors/agents u,ed wa, lawful, proper and/or con,titutional, '0 that I can determine whether the
 Saint Mary', County Maryland Circuil Court/actors/agent' who handled CAN and or others within the ,amI'
 venue of this Action/Office, and/or the ,ain' Mary', County Maryland Circuit Court at the time that CAN wa,
 processed/prosecuted, did not commit constitutional impermissible application of the statute(,), law!s),
 code{,). Regulation!s) or the like, in the maUer.
                  Becau,e the Court(s) has dealt with a corporate entity and not the filed Secured
  Party/Creditor {natural man} and failed to ,erve NOTICEthat it was doing 'a, {See U.c.c. ~ 1-201 (2&) and
  (2711,and that it be placed on "record" See U.c.c. ~ S-102(n); it ha, effectively created a "fault"; {See
  U.c.c. ~ 1-201 (1&)) as well as a breach of "load faith". 151'1' U.c.c. ~ 1-201 (19)). No ,anctlonts) can be
  impo,ed upon thi, Securt'd Party, howt'ver the .STATEOf MARYLAND" Cause doe, leave thi, "aggrieved
  party" opportunity to file for remedy (relief) as the undersigned may see fit. As well as the right, afforded
  by U.C.C ~ 1-10& (1){2I. ]-201 (34)(3&) and the State and Federal Constitution.

          Therefore Respondent a, you are the current PROSECUTING ATIORNEY, and ultimately
  re'ponsible for my current or pa,t action conducted by the ,aint Mary', tounty Maryiand Circuit Court, I am
  bringing thi, mauer to you in your Official capacity as the PROSECUTINGATIORNEY of Maryland.

            I also request a True and Correct copy of your Oath of Office, surety, performance bond and/ol
  blanket bond with the name and address of the insurer, the bond number, public and private pledges or


  ••
  2                         ••••_   ••••                                       &---------------
                                                       •••••••••••••••••••••••••••
  Conditional AcceptanceFor Value No. 030S]968.]/CArV-PR /BAW                                            Page]
                                                                                                               2
otherwi~e       10 indemnify the under~icned              a~ to any injurie~ and violation~ acain~t the ~ecured Righll~),
1 itle(~) 01 inlere~I(~} of the Under~igned.

              I wi~h to le~olv( Ihi~ malter a~ won a~ pos~ibl ••; however I can only do ~o wnditioned                       upon YOlll
pI oviding Ihe following PROOf             or   CLAIM .~ ~el out below to wit:

        J)     PROOf   or    CLAIM:lhat Ihp Comtitution            of the Uniled Slale~ and the Slale of Maryland operatl'
               upon Ihe Under~igned          (Violalion of J8 of United State~ Code IUSC.], Seetiom ISec.] 1001 and
               1018; (2) violaliom       @ $250,000.00       per violation) ..


        2} PROOf       or    CLAIM:Thallhe           Under~igned i~ a "PARlY 10" Named Therein and/or i~ a 5ignalory 10
               the "SOCIALCOMPACTS" known a51he UNIT[D STAlES and Slate of Maryland Conslilution.

             'N'; privale p~;50n has 'Ih;' righllo c~-;"plaTr;'by Su;;ln-court.'on Ihe grou~d5 of a breach of Ihe
              Con5lilulion. The Con51ilulion il is true, is a compacl, bul he is nol a party to il. The States are
              party 10 il:' PADDlEFORD fAY & CO. V. THE MAYORAND ALDERMAN, CllY OF SAVANNAH, 14'"

         l~~.
         ~
                  ~38, 520, ~ll U.S:~~.(1854)."                                                     .. _._    .. __    .       _


        3)     PROOf    or       CLAIM: That Ihe undersigned         is "NAMED THEREIN" any Slalule(5), laW(5), Code5(5)
               and the like. (See: THE PEOPLE V. HERKIMER,GENTLEMEN, ONE, AND COMPANY, 4 COWEN 345,
                1825 N.Y. LEXIS80). (Violalion of 18 of USc.,                    Sec. 241, 242, 1001, and 1621; (4) violations         @

                $250,000.00       per violalion).

         4)     PROOF or ClAIM: That the Uniled Slates and the Slale of Maryland's                           Corporale Slatule~, Laws,
                Codes, and Ihe like, operale              upon Ihe Undersigned.             (Violation   of 18 U.S.c., 1001 Il); @
                $250.000.00        per violalion}.

         5)     PROOF OF CLAIM: Of Ihe "L1ABILllY"of the Undersigned                         10 the 51alute5, laws, Codes, and Ihe
                like of Ihe Corporale        Government       of the Uniled Slales and Ihe State of Maryland. (Vlolalion of
                18 of USc.,        Sec. 241, 242, and 1001; (3) violalions @ $250,000.00                 per violalion).


         6)     PROOF Of CLAIM: That the undersigned                  is a "PARlY TO: Named Therein and/or                 is a Signalory
                10 any Valid/lawful        Conlracl and/or Agreement,              duly NOlarlzed along with a copy of the Nolary
                log 10 Ihe Federal Corporale            Governmenl     and/or any of Ihe Sub.Agencle5/Corporalions,                i.e. Ihe
                Stale of Maryland,          or your agency.        (Violation of 18 of U.S.C., Sec. 1001; (1) violation                  @

                 $250,000.00).

             71 PROOf Of CLAIM:ThaI a Corporalion such as Ihe Uniled SIale5 and Ihe Slale of Maryland, can
                 attain parily wilh a senlienl,         living, brealhing,       flesh.and.blood   man such a51he Undersigned.

     'Ihere"every    man           Is
                           independe~1 of 'alila~s excepl Ihose pre;cribed' b\;~;'ture. He is'nol i,-;'und' by
      any instilulion5 formed by his fellow man withoul his con5enl: CRUDEN V. NEAL, 2 N.C. 338, 2S.£.
        70 (1796).          ..                                               .          .                                                -'
    ~


  Conditional Accoptance For Value No. 03051968.1/CAfV.PR IBAW
      8) PROOI 01 CLAIM: That "Wl THE PEOPLE"as cited in tl", Constitution of the United States and
              thr Statr of Maryland, as wrll a, <ited ill till' enaelmell! dause of thr Statutes, laws, Codes, and
              the like •• ferrlllg to Ihl' f11'sh.and.blood men and women of the ~nited States of Ame,ica and
              the Maryland Republi<, and not the "Popular leaders who in all ages haw c.lled themselves,
              "THE PEOPlr", (Violation of 18 of USc., Sec. 1001; TIlle 4, of U,S,c., Sec. 1986; (2) violations @

              $250,000,00 per violation),


      9)      PROOf 01 CLAIM: ThaI thr people of the State of Maryland, i.e, the flesh.and.blood                              men and
              women of the Maryland Republic were present at the commencement and through the entire
              proceedings held under CAN, (Violation of 18 U.s.C.• Sec. 241, 242, 872, 1001, 1621,162/,                             and
              2384; (6) violations @ $150,000.00 per violation),


       10) PROOI OF CLAIM: That the "Conduct of the Judge and Prosecutor on behalf of the People by the
              SOIintMary's County MiJryland Circuit (ourt       a~ directed by     b.ecutive        Act", did not in fact act on behalf

               of the Corporate State of Maryland, rather than on behalf of the f1esh.and-blood men and
               women of the Maryland Republic, and that it also was not a violation of the "SEPERATIONOF
               POWERSCLAUSES"of the United States and the State of Maryland Constitutions, (SPP:PEOPLE
               EXREllEONARO V, PAPP.192 NW. 20 693, 383 MICH. 627 (1972), (Violation of 18 of U.S,C, Sec.
               241,242,1001,1621,          and 1951; (5) violations @ $250,000.00 pe' violation),


        ll)     PROOI OF CLAIM: That the Undersigned is a ,esldpnt (Bplonging Ta)thp                                  Statp of Maryland
                Corporation, and/or the United States Corporation, or any sub-division/instrumentality                          thereof,
                i.e, does the Undersignpd residp within a faction, a construct of law, an abstraction,


         121 PROOF OF CLAIM: That thprp is a clause within the Constitution of the corporatp Statp of
                Maryland, and/or thp corporate          United States. that subjpcts a Private Man (SovPJeign and
                Rptalning His/her Jurisdiction and Venue Within Themselves) to the Statutory Jurisdiction
                thprpo!.        (Violation of 18 of U.S,C, Sec. 1001 and 1951; (2) violations @ $250.000.00 ppr

                violation).

         13) PROOFOF CLAIM: That thp United Stales and thp State of Maryland by becoming a Corporation
                 "DID NOT" lay down thei, sovereignty and take on the charactp, of a P,ivate Cllizpn, and/or a
                 Corporate CharlPr. (See: THE BANK OF THE UNITFD STATESV. PLANTERSBANK GEORGIA, 9
                 WHEAT 244; U.S.V. BURR309 U.S. 242). (Violation of 18 USC 1001; 2B U.5.C 3002; (2) violations

                 @ $250,000.00 per violation).

          14) PROOFOF CLAIM: That thp Judge and Prosecutor undpr CAN had taken and filed with thp Statp
                 of Maryland, SecrPlary of Statp (lhe Rpcord Keep), an Oath of Officp Stating that hp/shp would
                 dpfpnd and uphold the Constitution of the Unitpd Statps and the State of Maryland. (Violation
                  of 5 U.S.c.,. 3331; Title 18 U.S.C, Spc. 110I(a)(3)and 3331; (3) violations @ $250,000.00 ppr

                  violation) .
•••••••••2&••.•• 3
                 •••• _   •••                           •••••••••••••••••   ----        •••• ----             •••• -----          ••••••••••
                                                                                                                                    Pase 3
Conditional AcceptanceFor Value No. 0305196S.1/CAFV.PR
                                                     {BAW
  1~1 PROOFOF CLAIM: Tilaltile      Under>icned'. riCI1t>did not exi,t before the origination (creation) of
      the State of Maryland and/or HlP United State, (See: HALEV. HENKLE,70l U.S. 43 AT PAGE74
      (190b)).   (Violation of 18 U.S.c., Sec. 1001; (1) violation i~ $750,000.00).


  16) PROOf OF CLAIM: That the United State, Federal and the Slate of Maryland Corporations, along
      with all Corporate City, County, and Township ,ub.divi,ion,       thereol are not operating under the
      National Bankruptcy a, declared in 1933, which wa, a re.itNation          of the bankruptcy declared in
      dating back 10 lB61 and prior. (See: SENATEREPORTNUMBER: 93.549, DATED NOVEMBER 19,
      1973, 93'0 CONGRESS1" SESSIONAT PAGE 1 PAR. 1 AT PAGESIB7 & 549; EXECUTIVEORDER
      6073,61026111        & 6260; THE TRADING WITH THE ENEMY ACT, 65'" CONGRESS,SESSION1,
      CHAPTERSlOS & 106, OCTOBER6, 1917, AND AS CODIFIED AT 12 U.S.C.A. 9S(a); THE 1950
       BANKRUPTCYDECLARATIONAND REORGANIZATIONPLAN NUMBER: 26. 5 U.S.C.A.903, Publ1c
       law 94.5&4, AND THE lEGISLATIVE HISTORYTHEREOf AT PAGE 5967 STATING, IN PART THAT
       "THE SECRETARY
                    OF THE TREASURYWAS APPOINTEDASTHE RECIEVERIN THE BANKRUPTCY").
       (Violation of 18 U.S.C" Sec. 241, 242, 1001, 1621, and 1951; Title 42 U.S.c., Sec. 1986; (6)
       violations @ $250,000.00 per violation).

   17) PROOf OF CLAIM: That Ihe Uniled Slate, and the Slale of Maryland are nol Insolvenl and
       Dissolved 01 all Aulhorily     and OHidal Capacily, Acling In Name Only, due 10 Ihe contrived
       National     Bankruplcy,   al,o   known    a,   National   Emergencie,    and Reorganization,.    (See:
       CONGRESSIONALRECORDVOLUME 33, 1933, CHAPTER11 REORGANIZATIONSOf THE UNITED
       STATES;26I.R.C. 165(g) (1); WESTFAll V. BRADLEY10 OHIO 188; ADAMS V. RICHARDSON,337
       S.W. 20. 911: AND WARD V. SMITH, 7 WALl. 447, AMONG OTHERREFERENCES).
                                                                          (Violalion of 18
       U.S.c., Sec. 241, 242, 1001, and 1621; (4) violalion, @ $250,000.00 per violation).


    18) PROOFOf CLAIM: That Ihe Governmenl of Ihe SOStale" did noland '1111
                                                                          do not pledge Ihe Faith
        and Credit Ihereof, I,e. the ,weat and blood (assets) of the American fle,h-and-blood        men and
        women, including Ihe Undersigned, as Surelie, 10 aid Nalional Emergency Contrivances, via Ihe
        valuable Instruments      known a, Birth Certlficale,      (See: Any newly issued Birth Certlficale
        whereon il slales: Thi, is a very valuable instrumenl) a' Collaleraland Ihallhe      Slate of Maryland
        and the United Slates Governments being incorporated, did not creale a Corporate De,ignation
        from Ihe distinctive      applicalion,   a, wrillen   on Ihe 8irth Certificale   in the name of Ihe
        Under>igned, and thus, make Ihe Undersigned, a, well as all olher American flesh-and-blood
        men and women, a ,urely and Accommodation Party for such Corporate Enlity, I.e. Ens legl"
        Ce,t Cue Trust, Strawman, Jurislic Person, Federal Employee, a' well a, numerou,                 other
        Definitive term, referring 10 such (See: CONGRESSIONALRECORDMEETING OF THE GOVERNOR
        MAY,1933, AND THE BOOK OF THE STATES,VOl. SO).(Violation of 18 U.S.c., Sec. 241, 242, 1001,
         1621, and 1951; (5) violation @ $250,000.00 per violation).


    191 PROOFOF CLAIM: Thallhe           .Chargels)" in this case were laid upon the "Private Man" I.e. Brian-
         Arthur: Weese' and nol upon a .CORPORATEFICTION", such a, BRIANARTHURWEESE',or any/all

                                                                                                         Page 4
Conditional Acceptancefor V.lu. No. 030S196B.l/CAFV-PRIBAW
      derivative and variations in the spellinf, of said namE' except for B"an Arthur: W....          and the
      liability Imposed there from onto the "PRIVAH MAN" as though there was/is some Contract,
      Agreement, a"d the like wherein the "PRIVAlf          MAN" consented/agreed to be a Surety and
      Accommodation Party for a "CORPORAll fiCTION", for in Actuality, that would be the only way
      that a Bankrupt, Insolvent, and Imorporated      Government, such as thl' State of Maryland or the
      United Statcs, including, without any limitation!    the Courts, CollfCtively, could fraudulently do
      such a Seditious Act. (Violation of 18 USc., Set. 241, 242,1001,1621,        and 1951; (5) violations

      @ $250,000.00 per violation).


   20) PROOf Of CLAIM: That the Judge and Prosecutor, at the time of the entire proceeding under
      CAN had an Indemnity Bond posted to indemnify their actions as to any injury that may have
      befallen the Undersigned, (Violation of 18 U.5.C.,Set. 241, 242, 872,1001,1621,1621,          and 1951;
       (7) violations @ $250,000.00 per violation).

   21) PROOf Of      CLAIM: That the Judge and Prosecutor             wer.   not enforcing    th.     National
       Bankruptcy/National       Emergency Contrivances,      upon th.    Undersigned,    via the     Criminal
       CHARGE(s) and Sent.nce,         (Violation of 18 U.S.C., Sec. 241, 242, l00l(six      fold(6.),   1951,
       1961(a)(b), and 1964; (12) violations @ $250,000.00 per violation).


   21) PROOf Of CLAIM: That all Crimes/Court Actions are not commercial as stated in part, within
       sretion 12.11 of litle 27 of the Code of Federal Regulations (UR). (Violation of 18 U.S.c., Sec.
       1001; (1) violation @ $250,000.00).

   23) PROOf OF CLAIM: That the Judge and Prosecutor, acting on behalf of ~int Mary', County Maryland
       Circuit Court, Ihe Corporale 5tate of Maryland and th. Uniled Slal.s Federal Corporation, did not
        know Ihat what they were doing under CAN, was Beyond th. Scope of their Corporate Charter,
        and that they did not have Ihe Authority to violate the Good Faith, Commercial Law, Conlract
        Law, and Securilies Law, in binding the Undersigned to an Undl"hargeable                    contract    to
        Incarc.rale him or hi, rights.IViolation   of 18 U.S.c., Sec. 241, 242, 1001, 1621, 1622, 1951, 2381,
        2383,2384,2385,       and 2386; (11) violations £ $250,000.00 per violalion).


      ':Aconlract mad. by a corporal Ion beyond Ihe scope oi its corporat. power 1'-Unlawful and VOID]-
      MCCORMICKV. MARKEl NATIONAL BANK, 165 U.S. 538.                                              _



    24) PROOFOf CLAIM: That Ihe Court Ihal adjudlcaled Ihe case under CAN wa, a .COURT Of
        CONSTITUTIONALDUE PROCESS",and not an "ADMINIS1RATIVE TRIBUNAL" adminlslering Ihe
        Nalional Bankruplcy per Ihe ca,e, (Violalion of 241, 242,1001,1621,1622,1951,            23B1, 2383,
        2384,2385, and 2386; (11) violations @ $250,000.00 per violalion).


    25) PROOf OF CLAIM: Thallhe         8ar Associalion is nol a Brilish Organizalion and/or a Controlled
        Association, thall,    an off,hool of the London Lawyers Guild, thus a foreign PRINCIPALwould

                                                                                                           rage 5
Conditional Accl'ptanco for Value No. 03051968.1{CAfV.PR{BAW
      be controlling Ihe Coum and Government               Agencie' a"ociated     therewith,     a, well a, All Judge"
      Attorney',     Agent>, Officerl, and th,' like Ihereol.    (Violation 0118 U.5.C., 5ec. 241, 242, 1001.
      16,1, 16n, 19~1, /381. 2383. 2384. /38~, and 2386: (J 1) violatiolll g $2~0,000.00                      per

      violation).



  ~(,) PROOf Of CLAIM:That the Judge and Pro,ecutor               a' well a, All Membefl         of the Bar, have not
      forfeited their United State, Cilizen,hip by becoming a member of Ihe Bar, in accordance                       wilh
      aUlomatic operation       of law, under Self. Executing, provi,ions of ti,e 13'" Arlicle of Ihe Organic
      Con,litulion     for Ihe l!niled Stale, of America (1787). a, well a, duly propo,ed             allhe    Second
      Sell ion of the 11'" Congrell       and Ralified in 1820. (See: U.s.C.A.TIllE         22   *~611-619:
      RABINOWITZ           V. KENNEDY.        376 \I.S. 605. K4 S. C"J. (1%4): 1I.S.C.A. TITLE \8               *~  219 k
      951: M.e.1.. 750.218 ~ 1(b)(e) and 4(0). AMONG m HER REFERENCES '10 I'OREIGN
      REGISTRATION STATEMENT S ItA VING TO Ill'. Fll.ED WITH TilE Secrelary of Siale. IN
       ORDER TO IlE IN '1illS COliNTRY. REPRESENTIN(i A FOllEIGN PRINCIPAl. OR
       roWER. (Violation of 1811.S.C .. Sel". 241. 242. IUIlI. 1101(A). 1621. 1622. 1951. 23KI. 2383.
       2384. 23K5. and 23K6: ( 12) ,i"lalim"        0'. S250.000.00     per violation).

   27) PROOf Of CLAIM:That within CAN Ihat the Judgmenl wa' nol "COMMERCIAL PAPER" and wa,
       nol depo,iled      Inlo a bank or wnvened      inlO an Ilem of Depo,ll for Ihe commercial benefit to
       Ihe Judge       and Proleculor.     (Coun),Counly,    slale of Maryland, The uniled 51ale" and or Ihe
       World Bank. (Violation of 18 U.5.C.• 5ec. 241. 242,1001.1621,               16n, 1951. 2381. 2383. 2384.
       238~, and 2386; (11) violation, 5,50,000.00            per violalion).


   28) PROOF OF CLAIM: Thallhe            organic/De Jure Conslilulion      for Ihe Maryland Republic, and
       Ihe Organic/De JUfP Constilution         for Ihe !lnlled 51ale, of America, and Ihe 51ale of Maryland
       and Ihe Unlled 5tale, are op~rallng under Ihe ,ame. (Violallon of 18 U.S.C., Sec. 1001(1)
        vlolalion e $250,000.00).

    29) PROOF OF CLAIM: That if Ihe Judge and Prosecutor               under CAN as well as All of the Slate
         of Maryland and Ihe United Stale, Governmenl              Employees, Agent" Officerl, Attorneys, Judge,
        and Ihe like (Hereinafter        referred 10 as PERsONEL), were/are        Operallng Under, i.e. Defending
        and Upholding Ihe Organic/De Jure Con,lilulion             for the Maryland Republic and Ihe ynlled
        slales of America (1787), and not a Corporale            CharIer. and if Ihe Stale of Maryland and Ihe
        Uniled Slates are actually Free Enlerprise          Republics, Ihen would nollhe         Judge and Prosecutor
        under CAN, a, well a, aillhe Allorneys and Judges, 10 Ihi, day, have or had a Ucense 10
        Praclice law as mandaled          by Ihe Maryland De jure Con,\IIutlon;           People Ex Rei Hughe, V. May,
        3 Mich. 598 (1855)' Operaling         Procedures     as Ihe PROSECUTINGATIORNEY: 1947, No. 803,
        Page 74], among other aulhorilie,.          and In order 10 be or have been Doing 8uslness A, a Judge
        or Pro,ecUlor,      and in their Individual, Privale Capacily. under a De Ju~e Constilulional               Republic.
        and ,uch a license would be or have been !lIued by a duly conslilulion,                  Free Enlerprise,
         Maryland Republic, Board of Law Examinerl wilhin Ihe Depanmenl                      of licensing and

                                                                                                                        Page 6
Conditional Acceptance For Value No. 0305]968-1/CAFV-PR !BAW
            Regulalion~, where all Profe~~ional Licen~e~are i~~ued, and ~uch a Board would have been
            eltabli~hed by the Legi~lature, al authorilCd/mandated                by Maryland Comtilulion   of
            1963,Article 4 ~ 1, a~ it i~ the Legi~lature which musl give force 10 Ihe licen~ing mand,Ie of
            Article 6 ~ 14 of the Maryland Constitution of 1963, (See: THE I fGISIATIVE RECORDS01
            fEBUARY 3,1969, HOUSEor REPRESENTATIVE
                                                 BillS: 2115 & 2116 WHERIIN SUCHA fREf
            ENHRPRISE'llCE NSING BOARD' WAS SOUGHT,BUT DENIED). (Violallon of 1B U.S.c., Sec. 241,
            242,100,1621,1622,2381,        23B3, 2384, 238S, and 2386; (10) violations @ $250,000.00 per

            violation).

      30) PROOf Of CLAIM: That in keeping with the pre~umption of Operating Under, i.e. Defending and
            Upholding the Organic/De Jure Con"itutions           for the Maryland Republic and the l,!nited Stalel
            of America (1787). and thi~ being a Free Enterpri~e Republic, a~ referenced in PROOFOF
            CLAIM: 28 and 29, if the only Liceme to Practice Law a Judge and Prosecutor need i~ to be on
            the Docket Roil of the Supreme Court, coupled with being a Member of the Bar As~ociation,
             and a~ ~uch they are deemed by the Bar (Briti~h Accreditation Regency) a~ an "OFfICER Of THE
             COURT" (See: M.C.l. &00.901; IN RELORD,97 NW. 20255,287;                         7 CORPUSJURISSECUNDUM ~
             4, AMONG OTHERAUTHORITIES),would not ~uch a Title of Nobility be in violation of the "NO
             TITLESOF NOBIliTY CLAUSE:' Article 1 ~ 9, Clau~e 8 and Article 1 ~ 10, Clau~e 1 of the federal
             Constitution of the United State~ of America Inc. (1845), and Would Not such a way 01
             licen~ing A Legal Profession, create a Monopoly, I.e. "RUllNG ClASS" IN Violation of Article 4 ~
             4 of the De Jure/Organic Conltitution     for the l,!nited Statel of America (1787). (Violation 0118
             U.S.c., Sec. 241, 242, 1001, lb21, 1622,2381, 2383, 2384, 238S, and 2386; (10) violation,               @

             $250,000.00 per violation).

          31) PROOFOF CLAIM: That under the "BAR RULES",All Judge, such al the one that
             presided over CAN, would have to be a Bar Allorney before he could become a Judge and is
             thi, not a Violation 01Article 4 ~ 4 of the Constitution of the l,!nlted 5tates 01 America (1787).
             (Violation of 18 U.S.c., Sec. 241, 242, 1001, 1621, 1622, 2381, 2383, 2384, 2385, and 2386; (10)
             violations ~ $250,000.00 per violation).


          32) PROOFOf CLAIM: That under their "NOBLE STATUS"within the ancient lellowshlp
              known a~ the "BAR"that the Judges and Prosecutor for CAN, a~ well a~ all "BAR" Judge~ and
              Attorney~, operating under monopolized, "RUllNG ClASS", are actually operating under
              competing and conflicting Intere"s, another fact ruled a~ being unconstitutional               by lellow Bar
              Judges. (See: CULVERV. SULllVAN, 446 US. 335, 350, 100 5. CT. 170B (1980); GlAS5ERV. U.S.
              315 U.s. 60, 62, S.(1. 457 AMONG OTHERAUTHORITIES). (Violation 01 18 U.S.C.,Sec. 241, 242,
              1001, 1101(a)(3), 1621, 1622, 1951, 2381, 2383, 2384, 2385, and 2386: (12) violations @
              $250,000.00 per violation) ..

          33) PROOFOf CLAIM: That all the "ViOlATIONS" 01the De Jure/Organic Constitution 01 the
               Maryland Republic and the l,!nited States 01America (1787), in order to usurp an Official/Seat


•••••••
              in the Government/Judiciary,
                    ••2&
                      ••••                 •••
Conditional Acceptancefor Value No. 030S1968-1/CAFV-PR
                                                        •••••""' ••••••••• ----
                                                     18AW
                                                                                          2------ - -..
                                                 including the ones which were held by the Judge and Prosecutor
                                                                                         ••
                                                                                                                      Page7
     for CAN, a~ well a~ by all other Government Official~/Employee~, whom have supposedly sworn
     "Oath of Affllmation to Uphold and Defend: tne De Jure/Organit Comtitution for the Maryland
     RepublICand the \!nited 5tates of America (1787, as Mandated by M.Ll.                                       1~.1~1 el. 5eq. and
     U.S.LA Title 4, Section 101 & 102 el. Sc'q.,does not render thelll void, and that any usurped
     authority of jurisdiClion as well as any Decrees. Orders, Judgments, and the like issued/Imposed
     therefrom are not also void. as decided by "fellow Brother and Sister Bar Judges," e.g.


        '''II;;-Cou''         i~"withoui' a".nt;orii v: it~' judgment          and orders a'~e'-;-~gardedas' nullitie$.T'hey              a;e       I
        "VOID", and from no bar to a recovery soueht, even prior to reversal in opposition to them. They
        constitute no justification; and all persons concerned in executing such judgments 01 sentences,
        are considered in law as Irespassers." (See: ElLIOT V. PIEROL,1 PEl. 328,340; 26 U.s. 328. 340
                                                                                                ___    ' J
        (1828)),        •••    _''           •           "        0-                .•   -----         •   ---       ..   ----




      (Violation of 18 USL,                 Sec. 241, 242, 1001, 1621,1622, 1951,2381,2383,2384,2385,                              and 2386;
     (11) violations @ $250,000.00 per violation).

   34) PROOf Of CLAIM: That if the Court has "NO AUTHORITYor JURISDICTION"over the Undersigned
      or over CAN, via each of the violations of the Dc Jure/Organic Constitutions for the Maryland
      Republic and the \!nited States of America (17B7) as well as federal Constitution on the United
      States of America In(.(1846), that the Judge and Prosecutor, as well as all whom have advised
       and acted with them, to commit the moral wrongs of "UNLAWfUL INCARCERATION"of the
       Undersigned, thus having the liability 01 insuring that what the Judge and Prosecutor did by
       incarceration                 the   Undersigned   within        their   supposed jurisdiction,               was "LAWfUL          and
       CONSTITUTIONAL," and if left unchecked, would be the same •• making a statement for the
       Record via, this (CAfV). that every tlesh-and-blood                               man and women In this country is just
       susceptible to the "MORAL WRONGS," that have been perpetuated upon the Undersigned. e.g.


     "Whe'~'      a Judge or Attorney acts wh;re he/she does not have jurisdiction, the Judge and
     Attorney are engaged in an act or acts of Treason, and any Judge or Attorney who does not reject
     the Judge and Attorney lor "TREASON"as required by law may themselves be guilty 01 Misprision
     of Treason." COHEN V. VIRGINIA, 19 U.5. (6 WHEAT) 264, 404;5 l.ED. 257 (1821); AND
      REAffiRMED UNDER U.S.V. Will 449 U.S. 200, 216; 101 5. CT.471; 66l. ED.20. 392, 406 (1980).
      (See: also 18 U.5.C.A. 2382 _ MISPRI50N Of TREASON;AND 18 U.S.C.A. 2, 3 AND 4 - MAKING
     SUCH NON-REPORTING JUDGES, AnORNEYS, OR ANYONE THAT HAS KNOWLEDGE Of SUCH                                                                  I
      CRIME5 A "PR!!"SIPALIN THE CRIMINAL ACTIVITY").                                            .--------                       ---

    35) PROOf Of CLAIM: That "ANYONE" including the Judge and Prosecutor lor CAN, has filed a
        "5UPERIOR CLAIM" which is Certified and State Sealed within the Uniform Commercial Code
        (UCe) Division, 01 any Secretary of State, that supersedes the filing by Secured Party Creditor,
        Brian' Arthur: Weese' • i.e. file Number 201606060267849, which has been duly recorded,
        Indexed, and Certified and is under State 5eal on a national filing form within the UCC Division,
        of the New York Secretary of State Office, thereby "SECURING" all of the assets 01 the DE8TOR,
        BRIANARTHURWEESE', and any/all derivatives and variations in the spelling of said name, except

                                                                                                                                         Page g
Conditional Accepunce For Value No. 030S1968-1jCAFV-PR
                                                     IBAW
         for 'Brian- Arthur: Wre!lf'             . lhi:- Superior   l"aim     illdudt.:~"AI I" ul"t}w lll:htol~ PWPl'rty/A~M.'b. 10
         ilJl.:ludl' clOy/ali lhill~" u•.l'd 1tl idl'nlif~ thl" DIJrt OR, ix,                     Social Sl'(."urit~ 1\(count         NlIlllhl'r:
         l'.l I.S,I.P.lAl n ()Iri~ NUlllhl'1.           BlIll'OI iln~
                                                                    thilll!   a!'l~ol'i;.llf:d \\ilh Ihl' nallll'   of till' DEBlOI{. nbol0
          il1l'luck     \\ ilhoUl   Iimit:tlioll"',   lind Bomb     is!'IUl'd \l1Hh.', lhr   nFHl OR'!'I       lIa11\1.' includin~   tll()"l'   Ih:lt

          \\l'l<   fralldll1l-nll) n«l1ed lI,ill~ Ihe lIame (p"'rnl) I ollhe DUn OIL(Violalioll of 18 usc.,                                     Set.
          241,242,1001,             1621, 16n, 2381, 2383, 2384, 2385, and 238b; (10) violation~ @ $250,000.00

          per violation).

   36} PROOf            or   CLAIM: That there i~ no ~lIch UCC Filing, i.e. Private Agreement Number: 03051968
          BAW-SA;Hold Harmle~~ and Indemnity Agreement Number; 0305196B.BAW.HHIA;Common Law
          Copyright notice Number: 0305196B.BAW.ClC;filed and recorded under State seal with the state
          of New York , Secretary of State Office, wherein a copy of ~aid document~ are the initial
          document~ (Ihe remedy put in place by the Government) to provide the fle~h-and.blood man
           and woman a way 10 remedy them~elves of the fraud of the Government, some of which ha~
           been disclosed throughout thl~ CAfV, and is the basis of the Antecedent claim, for per Maxim of
           Law on fraud, "They had to leave the people a way oul, or all cover of legitimacy.)"
           (Violation of 18 U.s.c., Sec. 241, 242, 1001, 1621, 1622, 2381, 2383, 2384, 2385, and 2386; (10)
           violalions @ $250,000.00 per violation).

    37) PROOf OF CLAIM: That there are nol over 3 million such UCCflling~. related to the Redemption
           of the Fraud of the Government, Nationwide.

    38) PROOf OF CLAIM: That if these documents duly fiied and recorded under State Seal a, ,tatcd
            abovl' in PROOf or CLAIM 35 & 36 are fraudulent why are they considered Legitimate by the
            Secretary of State, for the State of New York, and the Undersigned not being prosecuted for

            creating Fraudulent documents.

        39) PROOFOF CLAIM: That the Judge and Prosecutor under CANwas not looking for Ihe Undersigned
            to "ACCEPl fOR VALUE" or honor the Charging Instrument/Presentmenl                                        in accordance with UCC
             ~ 3-410, and due to all Court Actions Being Commerciai (U.S.C.A.Title 27) and Statute being a
             Bond (See: BLAn'S                  LAW DICTIONARY 4'.              EDITION REVISED)which is an abbreviation                                for

             "STATUTEMERCHANT:' which is:


                   a.    A security for a debt acknowledged to be due;
                   b.    A bond for Commercial Debt (See: J.H. BAKER,AN INTRODUCTIONTO ENGLISH LEGAL
                          HISTORY,354 3'. EDITION 1990) and that the Complaint Information of Indictment is not
                          a lhree-pany draft, Commercial Paper, under Anlcle 3 of the UCC,and that the Judge and
                          Prosecutor is/wa~ Not the Drawer or Maker by their signature, and that the Undersigned,
                          flesh-and. blood-man, though not having such knowledge at the time, was/is not deemed
                          the Surety, and the COMMERCIAL PRESENTMENl was not made in accordance with UCC
                          ~ 3.501(1), Presentment is Necessary to Change Secondary Panies, and because the
                          Undersigned did not know at the time, of the underlying fraud, and did not Accept the

_____        ••••••••• 2L
                       •••• ---- •••• -- ••.•••• e••...•.
                                                     _---_                                   ••••_-----------_                                     •••.•
Condilional AcceptanceFor Value No. 030S196B-ljCAfV.PRIBAW                                                                                       PIge 9
                     Chargrs of Prrsentmrnt,   f or Value or Honor, thaI the Undersigned was not deemed in

                     dishonor;
               L     That the Undersigned was nOl then dN'med 10 be in dishonor fOl non.acceptance' by the
                     Judge and Prosrcutor, in accordanll' with UCC~ 3.S0S(c) and \JCC~ 3.S0J(2), (a) and (b)
                     and that the Undersigned is/was madr the fiduc iary \rustee of thr DEBTOR,Ens legis, in
                     this fraudulently   created capacity, was the Undersigned not madr          responsible to
                     dischargr   the drbl   of the DEBTOR, Ens legis by operation        of law, Whereas the
                     Undersigned being made the PRINCIPAL or Asset Holder on thr Private Side of the

                     Accounting ledger; and
                d.   That the Undersigned was/is not holding the Exemption necessary, to discharge the debt,
                     based on the "ANlECEDENT CLAIM," which has been "R£DEEMED" via the UCC Filing
                     referenced with PROOf Of ClAIM 3S of this CAFV.

(Violation of J8 of U.S.c., Sec. 24J, 242, JOOJ. J&2J, 1&22, J9SJ, 238J, 2383, 2384, 2385, 2386; (JJ)
violations @ $250,000.00 per violation).
     40) PROOf OFCLAIM: That because the Undersigned did not accept the Charges of Present For Value
              or Honor, presented by the Judge and Prosecutor under CAN, thus the Undersigned being
              deemed in Dishonor, and the Court/Government          not being Able to use the Undersigned's
              Exemption, at the time to pass the debt or Charge, through the Account of the DEBTOR,Ens
              legis, to obtain a discharge, that the Dishonor is/was not sold to the Federal Court as all State
              Court Judgments/Oishonol      are, and therufter   sold as Stock/Shares, which have an extensive
              value per charge. (Violation of U.5.C.18, 242; U.S.C.J8.24J; U.S.c. J8. JOOJ;U.S.c. J8 J62J; U.S.c.
              18.J622; USC 18.238J; U.s.c. J8. 2383; U.S.c. J8 2384; U.s.C. 18. 2385; U.S.c. J8. 2386 ;U.s.c.
              J8. J951 (ll)   VIOIATIONS@$250.000.00 PERVIOLATION).


       4J) PROOFOF CLAIM: That when a Social5ecurity Account Number is assi8ned/issued, that a 81ank
              Bond is not Issued and when the Undersigned was arrested and there after imprisoned, that this
              Bond was not filled out and that this Bond is not called a "BID BOND", Standard Form 24(SF24)
              and that it is not prescribed by the General Service Administration (GSA),and that this is not also
              referred to as a "PRISON or PENAL BOND", as well as a "CONTRACTSURETYBOND" and that a
              follow. up "PERFORMANCE BOND" Standard Form 25(SF25) and "PAYMENT BOND: 5tandard
               Forn, 25A(SF25A) were not filled out. (Violation of J8 U.s.c., Sec. 241, 242, JOOJ, J62J, J622,
               238J, 2383, 2384, 2385, and 238&; (10) violations   @   $250,000.00 per violation).


       42) PROOFOF CLAIM: That everything Is not being run under the "LAW MERCHANT" under UCC~ J.
               J03 (See: ALSO5ECTION J775.04 OF TillE 17 U.S.C.A - CORPORATIONS;THE ADMINISTRATIVE
               MANUAL OF THE INlERNAL REVENUESERVICE,WHEREIN UCC~ J.l03 IS QUOTEDAND PARTOF
               THE MARYLAND REVISEDCODE THAT STAlES THAT "RULES Of LAW AND EQUITY, INCLUDING
               THE "lAW MERCHANT" ARE TO GOVERN"). (Violation of J8 U.s.c., Sec. 241, 242, JOOl 1621,
               1622, 238J, 2383, 2384, 2385, and 2386; (JO) violations @ $250,000.00 per violation) .



 ........_x                        ...."""....""""""------ ....-----------
  Conditional AcceptancoFor Value No. 030S1968.1/CAfV.PR/SAW
                                                                                                       ..... - .....
                                                                                                           Page10
    43) PROOf Of CLAIM: That all factual information Contained within thi~ CAFV pertaining to thl,
          ~ecuritie~/Fraud lannot be retrieved horn the federal Cirwit Court web~ite, a~ the Undersigned
          hal done exte",ive through lawful cha"nel~, And i~ it not true that th;, web,ite i~ Re,triCled to
           Public Acce", and that thi, restriction can be ob,erved by ,imply doing a computer ~earch typing
           in the CU~IP, and i, it not      '0   that the name CUSIP i~ not derived from the American Banking
           As~ociation'~ (ABA) _ Committee on Uniform ~ecuritie~ Identification, and that CUSIPis not the
           trademark of Standard and Poor'~ which operate~ a lice",e agreement with the ABA and i~ at the
           same addre~s a~ the Depo~itory Trust Clearinghou~e, which i~ the clearinghouse for all good~,
           commoditie~, and ~ecuritie~, and is al~o referred to a~ the Global Clearing Network (GCN) and
           the Defined Contribution Clearance and Settlement (the DCC&S).among other name~. which arc
            the clearing hou~e for all the ~hare~ and ,tock~ ~old through the Correetion~ Corporation of
            America and the Paine Webber Group and that if a computer ~earch wa~ done on the Pain
            Webber Group that one of the 20 large~t companie~ would not be called "PRIVATE PERSON".
            and that thi~ cannot al~o be verified under Re'gi~ Ca~tellani', Transformation                 Corporation
            web~ite, i.e. www,tra",national.org/pay~/usa.htm              and that the london b•• ed U.B.S. Warburg
             Investment Banking Division of the U.B.S., which was started by the Paul War burg, which owns
             and controls the World Bank, that started/owns               the Federal Reserve, which is part of the
             Securities Scheme, that fund, the Privatized Prisons and that is one reason why the Federal Court
             website has a Public Access Restriction on It, and not because the shares and stocks which were
             supposed to be sold to the Public, are actually sold to a select group of Corporations, and
             Mortgage Backed securltips          as a cover and these selpct corporations are hoarding all th~ !lhares
                 and stoch      so the public cannot       view them via computfl'r    search, and that the American
                 Legisiative Exchange Council (ALEC).owned by Paul Weyrich of the free Congress Foundation,
                 who bragged about helping to enact the Truth in Sentencing, and the Th,ee Strikes Laws, thereby
                 was creating a means to keep a steady flow of prisons within the Privatized Prison System, which
                 is why Correction Corporation of America and Wackenhut h•• paid hundreds of thousands of
                 dollars In exchange for privileged position on the ALEC's Criminal Justice Task Force, and the
                 General Accounting Office and General Service Administration (which are under the Comptroller
                 of Currency), and heavily involved in the Accounting aspect of the Securities Scheme, and is why
                 they suppiy all the "BID", "PERFORMANCE",and "PAYMENT BONOS". (Violation of 18 U.S.c., Sec.
                 241, 242, 1001. 1621, 1622. 1951, 2381, 2383, 2384, 2385, and 2386; (11) violatio",                      @

                 5250.000.00 per violation).

        44) PROOFOF CLAIM: That the Undersigned cannot as the "Holder In Due Course" o!the bonds (that
                 were fraudulently created by all parties disclosed this far in this CAFV),take the Information from
                 the Circuit Court Website, as to who currently has the Bonds. and amount thereof, and submit a
                  "BID", PERFORMANCE",and PAYMENT BOND: as well as an International Bill of Exchange (A~
                  Good As Aval), which is lawful, due to the United States becoming a party to the United Nations
                  Committee on International Trade Law (UNICITRAL) in 1989, and thereof discharge the debt
                  which was Fraudulently imposed upon the Undersigned.              (Violation of 18 U.S.c., Sec. 241, 242,
                  1001, 1621, 1622. 1951, 2381, 2383, 2384, 2385, and 2386; (11) violations @ $250,000.00 per

_   ••Z2
      ••••••..    violation).                        ._ ••.••.     ••••         •                              sn
                                                                                                               •• ••••
                                                                                                                     -_   .••

ConditionalAcceptanceFor Value No. 030S1968.1/CAFV.PR
                                                    /SAW                                                            Page11
        45) PROOFOf CLAIM: That the Judge and Prosecutor under CAN, did nol commit Constitutional
           Impermissible Mis-Application      of th,' Statutes in this case to work as a determent      10 the
           Undersigned. IViolation of 18 USc., Sec. 141, 24/, 1001, 1&11, 1&21, 1951, 2381, 2383, 2384,
           1385, and 138&; (II) violations @ 5250,000.00 per violation).


        4&) PROOf OF CLAIM: lhat Ihe Judgmenl of Senten,e rendered by the Judge under CAN, Is not VOID
            from inception and as to why the Undersigned should not be released of all implications thereof
            immediately, due to all of the Fraud underlying such judgment, and although the Undersigned
            could go about discharging the fraudulent Monetary Debt, underlying the Judgment, i.e. going
            through all of the formalities which are really unnecessary "When lhe Facts Of Fraud Make The
            Judgment VOID." (Violation of 18 U.s.C., Sec. 241, 242, 1001, 1&21, 1621, 1951, 2381, 2383,
            2384,2385, and 238&; Ill)      violations @ 5250,000.00 per violation).


        47) PROOf OF CLAIM: ThaI you do nol have the duty and Obligation to produce and provide the
            Undersigned the PROOFOf CLAIM as requested, pu"uanl              to the "Clean Hands Doctrine" and
            "Good faith" dealings with the Undersigned, and because some of the PROOFOF CLAIM relate
            10 Securities Fraud, which playa part In the Unlawful Incarceration of the Undersigned, the
            mandates of the Sarbanes-Oxley Act of 2002, H.R. 3763,107" Congress Second Session, which
             also apply to you as a Judge and Prosecutor of the ~aint Mary', County Maryland Circuli Courl, and
             Other involved and which President Bush signed into law to combat among other things,
             Accounting and Securities Fraud. IViolation of 18 U.S.c., Sec. 1001 and 1951; (2) violations     @

             5250,000.00 per violation).



                                                    CAVEAT
    Please understand that while I want to resolve this matter quickly, I can only do so upon your 'Official"
response providing the above PROOFOF CLAIM in the matter a, to the action being lawful, proper and
constitutional.
            1herefore, not being a signatory to the FEDERALCONSTITUTIONof State of Maryland Corporation,
not a party to your 'Social Compact", and not being named in your statules, and/or notice of agreemenl
between the State of Maryland or the United States with the Undersigned, the Undersigned did not and
does not understand the nature of the jurisdiction Imposed by the State of Maryland in respect to the
judgment received, or the commercial nature of some involving commercial paper, bonds, etc. created by
the Judge or others on request to the above case.
             Should you fail to provide the requested PROOFOF CLAIM, you would fall to state a claim upon
which rehef can be granted, and you will have stipulated to all the facts as they operate in favor upon the
undersigned, i.e. that the Undersigned is not a signatory, nor party to Ihe social compactlConstitution)         of
the State of Maryland Status and said Constitution does not opprate upon the Undersigned and that the
Judge and Prosecutor          for the ~alnl Mary's County Maryland Circuit Courl under CAN, commilled


••...   ----------_ .•....._---_ •.•._....•....•....._------_ _---
constitutional Impermissible application of the statute(s)/Iaws


 Conditional AceeptaneeFor Value No. 030S196B-I/CAFV-PR
                                                      /BAW
                                                                        in CAN, and you also agree that injury was

                                                                                                           Page 12
done 10 Ihe Unde"igned,      via Misapplication of thr Slatutr!s}. Malicious Prosecution, Conspiracy, libel,
sland.r, and Fraud, and you agrrr Ihat the Undr"ign.d        Is dur damag.s via tor\.

        If you fail to respond and/m provide PROOF01 CLAIM to any/all of the forty,scvcn (47) ,equested
claims contain.d   h.r.in,   this will constitule your agreement that any rrmaining judgm.nl/monetary
penalty may be "Accepted for Valur" and Return.d for Discharge by Bonds, Int.rnational        Bill of Exchange,
Promissory Note, or any other appropriale        comm."ial      Paper, to allow the setoff/adjustmenl       and
.xchange of Cr.dit/Discharge      of CAN, and thaI I S.cured Party Cr.ditor,       Brian. Arthur: Weel< ,th.
Authorized R.presentative,      and Attorney-in-Fact    for the Def.ndanl/DEBTOR        BRIAN ARTHURWllSl      ,
hereby calls for the return of the Bonds (Bid, Payment, & Performance Bonds) issued by the SainI Mary's
County Maryland Circuit Court, under CAN, and you R.spond.nt,       as PROSECUliNG ATIORNEY, agr.e thaI I
may proceed dir.ctly to the U,S, Districl Court or a venue of choice for the Comme"ial       Vess.l, I.e. BRIAN
ARtHURWEESE',and that the undersign.d is due r.parations and damages via Tort.

         Brian. Arthur: W•••• ; will .xercis. his right to v.rify any proof, discov.ry, evidence or otherwise
(in the nature of his right to chall.nge jurisdiction at any tim.), as to the .ntire matter, p.r his right within
"Th. Du. Process of law" and therefor. this private proc.ss is proper in obtaining such ".videnc." and
to chall.ng. any false claims, charg.s, or otherwise.
         R.spond.nl     as the PROSECUliNG ATIORNEY for the State of Maryland, and as such, having
 superior knowl.dg. of the law n.cessary to provide the PROOFSOF CLAIM request.d her.in by the
 Unde"ign.d Ihereby providing .vld.nce Ihat the action was lawful, proper, constitutional, and Ihere was
 no misapplicalion of the Statut.(s}. Law(s), Code(s), or the lik., and how the Undersigned can lawfully
 "Pay Debt{s) at Law", including judgments with Constitutional mon.y and not b. tricked into becoming a
 Tort Feasor, by the State of Maryland. (See: ARTICLE1 SECTION10 - U.S. CONSTITUTION).

          Respondent as the PROSECUTINGATIORNEY, you must reply within Thirty (30) DAYS,providing
 PROOFOF CLAIM both to the Undersigned and to the Third.Party witness's addresses below, and should
 you go into fault, you will be given THREE(3) DAYSto cure your fault of non-r.sponse, If you fail to cure
 your fault, you will be found in default and will have established your default and dishonor of this counter-
  offer to the original offer Indictment in the record,
          The defaulting and dishonoring party will be foreclosed by laches and estoppel from maintaining
  or enforcing the original offer in any court or administrative unit and you agree that the Undersigned may
  exercise his exclusive remedy as to the stipulated and agreed upon, Misapplication of the
  Statute(s)/Law(s)/Code(s)    or the like, Malicious Prosecution, Conspiracy, libel, slander, and Fraud, and
  other Violations of the United States Codes and Statutes via maritime action and/or Tort.

          Such rights or obligations are secured, preserved or denied by the Constitution to prevent such
  abuses by Government Officials by their oaths to support said Constitution {67 CJS,OFFICERS,SECTION,
  46 OATHS). The penafty of such violations are defined under 18 U.S.c. 3571, and Individually listed for
  each violation    {$100.000.00} each violation       or trespass listed as a misdemeanor,       18 U.S.c. 3S71
  {$2S0.000.00}. for each trespass or violation listed as a felony,

      THE ABOVE MENTIONED IS JUSTA STARTOf VIOLAllONS THAT SECUREDPARTYHAS SUFFEREDIN
  TIME FROM OFFICER'S,EMPLOYEES,AGENTS,ALIENS FROM THE STATEOF MARYLAND, THIS SECURED



                                                                                                            Page13
   Conditional Acceptancefor Value No. 030~1968.1/CAFV.PR{BAW
PARTY BY THE STAn Of MARYLAND HAS BUN REDUCED 10 PEONAGE AND INVOlUNTARY SERVITUDE
UNDE~ I RAUDUlENT, TYRANNICAL, AND SEDITIOU~ ACTIONS.

  ',"II' AClIO~    fURTHER AClSI Of DETENTION, ARREST, INCARCERATION, OR PHYSICAL HARM TO                    nus
SECURED PARTY HEREAfll R 15 AS51(;NI.D Ttl(                MINIMUM     MONETARY VALUES AS PER PRfCEDENT
ESTAllllSHEllIlY     (TREZEVANT'V' CITY Of TAMPA, )~l D. 20 336119S411: 51.5.000.00               PER 23 MINUTES
PERIOD, 1.1 56S.~17.9l     rI.1l 1I0UR, !'lUS PUNlllVl      DAMAGES IN AMOUNT DECIDED SOlElY IlY SECURED

FARTY'S HlIR~ 011 ASSIGNS.
   "SECURto       PARTY IS AllTHORIZEO TO REGISlfR TtllS CAfV IN THl COMtl.ERCIAl               REGISTRY AND MIIY
USE CAfV A5TtlE SECURED PARTY"S DISCREllON IN ADMINISTRATIVE OR JUDICIAl CLAIM AS NECESSARY
BY THE SECURED PARTY TO OBTAIN Ir.lJURY/DA""AGES THAT WERE PERPfTRHD                       AGAINST DEBTOR:

         AS AN AGENT Of THE UNITED STAlES, THl DEfAUlTING                   OR DISHONORING PARTY, WIll SPEAK
fOR THf STAlE Of MARYLAND IN THIS MATIER. AND BINDS THE STATE 01 MARYlAND AND TH£MSElV£S
PERSONAllY VIA THUll BIl£ACH Of DUlY TO ANY/AU MONETARY DAMAGES FOR THE Ir.lJUIIIES AS SO
 STIPULAT ED BYYOU RESPONDENT, PROSECUTING ATIOIINEY.
         SilENCE CAN ONLY BE EQUATED WITH fRAUD WHERE THERE 15 A UGAl OR MORAl DUTY TO
 SPEAK OR WHERE AN INQUIRY UFT UNANSWERED WOULD 8E INTENTlONALLY MISUADING.               U.s.V.
 TWEll,SSO F. 20.287(1997). NEGLECT Oil liEf U!>Al ON THE PAIIT 01 PROSECUTING ATIORNEY AND/OR
 ANY or YOURAGENT(S) EMPLOYEES. ALIENS FOil THE STAlE Of MARYLAND SHAll liE DEEMED KNOWING
 AND VOWmARY WAIVER or "ANY" OffICIAL IMMUNITY, AS YOUII TACIT ADMISSION IS CONSENT TO Ill.

 SUED




                                         ACKNOWLEDGEMENT
            In compliance wllh Tit'" 28 U.S.C. ~ 1746(1), Ind executed WllliOUl THE UNllED srAnS,llffirm
   under lhe penaille. of perjury, and to the 13W. of the ~ lur~ yniled Stal~' of America, thaI the lorrgolne
   is true, COrlett, and complete to the be'l of my belie! and informed knowledge. And further the Deponenl
   Sallh Not. I now Iffil my Sicnlture and Official Seal to the above Documenl with EXPUaT RESERVATION
   OF All MY UNAlIENAllll RIGHTS, WITHOUT PREJUDICE TO ANY Of lliOSE RIGHTS, in compliance                 with


   UCC t 1-308:                                fu.:...       /dL. ..~u_L~~--
                                               Brian. Arthur: Wee.'"
                                               ~.c\lr~ Porty C.nlltOl
                                               Authori7.cJ Rcpm;cnluUvc ruT AnJ in Ilch>lf Of
                                               BRIAN ,t.RTllUR Wl[S[.
                                               Without Pr.judl,"



    Conditional AcUplanU     f01'   Vol••• No. 030S1968-1/CAfV'Pl\   fBAW



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Ih,~                     0;:;\' ('If   •                  .   JUl ..      (\' hi! 0\11.11' I"" Wll,. Ol~ w lnt ~~.d      h' Ow ~1r.ncHuft~ lal()w

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   Conditlonl'       Ate.puntt             101 Vllu" No_ 03051968-1/CAIV-PR                         /IAW
CNlified      Mail Number:-=:J.od,t         dlq()~                                 0153

 To:                                                                   from:
 Attn; Michill'l J. ~lilmm or t.i~~u((('~!>or                          Secured     Pany/Creditor
 D.B.A. Saint Mary'~ (ounty         Maryland (ir( uit (ourl            Brian Arthur: WeE-SF
 PO BOX 8S9                                                            c/o ~491 Hunline Creek Road
 lE-onardtown.      MrHyl.1nd ,0636                                    Huntingtown, Maryland
                                                                       Inear ~0639J
                                                                       Non.Dome~li{         / Non.As~ump~it



RE: CONDITIONAL ACCEPTANCE FOR VALUE (CAFV) - PRIVATE INDEPENDENT ADMINISTRATIVE
PROCESS - ARTiClE 1 REDRESS OF GRIEVANCE UNDER THE NINETH AMENDMENT RESERVATION FOR
THE RESOLUTION AND EQUITABLE SETIlEMENT UNDER NECESSITY, IN THE NATURE OF REQUEST FOR
PROOF OF CLAIM/DISCOVERY.
                      Ca~e/A~~ocialed                    Number:       K09.458     (hereinafter      CAN)


                                            NonCE TO AGENT IS NonCE TO PRINCIPAL
                                            NonCE TO PRINCIPAL IS NOTICE TO AGENT


 Dear Mic.hal'l J. Stamm Of hi!l ~u((e~!lor
                                          - or (urrent                 chief judge hereinafter Respondent,

              I am In receipt      of the judgment/pre,entment/offe,              impo,ed     under      CAN and I agree to abide            by
 the ,tipulation,   thereof upon your providing PROOF OF CLAIMS in the Nalure of Di,covery (evidence).
 exhausting     my private administrative remedy from your office. Therefore, I ,eek PROOF Of CLAIM in
 regard,    10 CAN, and/or     that the charging   In~lrument  the Saint Mary', County Maryland C"cuit
 Coun/aclors/agent'             u,ed wa~ lawful, proper       and/or    comtitutlonal,       '0 that     I can determine      whether       the
 Saint Mary', County Maryland Circuli co"n/actors/agent~    who handled CAN and Or others within the ~me
 venue of thl. Action/Office,   and/or the SainI Mary', County Maryland Circuit Court at the time that CAN was
 processed/pro.ecuted,     did not commit comtitutional    impermi~~ible application of the 51atute(~), law(.),
 code(~l,      Regulation(,)      or the like, in the matter.

              Therefore        Re~pondent    a. you are the current         Chief Judge,          and ultimately    re.ponsible      for my
 currenl      or pa~t action conducted         by the Saint Mary', Counly Maryland Circuit Court, I am bringing thi~ matte,
  to you in your Official capacity          a~ the Saint Mary's Counly Maryland Circuil coun Chief Judge.

              I al.o request      a True and Correct     copy of your Oath of Office, .urety,               perlormance       bond and/ol
  blanket     bond with the name and addre~~ of the In.urer,                   the bond number,          public and private       pledges     or
  otherwi.e       to Indemnify       the undersigned     as to any injuries         and violatlon~       against   the .ecured      Right(.),
  Title(.) or Intere~t(,)        of the Under~igned.

              I wi.h to resolve thl~ matter        as .oon a~ pos~lble; however             I can only do    '0 conditioned       upon your
  providing      the following      PROOF OF CLAIM as .el out below to wit:




 ••••_ ••••••••••••••••••••••
                      a•••..
                         .,., ••••••••
                                    - ••••---------                              ••••----------------.
 Conditional Acceptanco for Value No. 03051968.I/CAFV.JC/                                                                         BAWPage 1
1) PROOfOf CLAIM:That the Con~titution of the United State~and the State of Maryland operate upon
      the Undersigned (Violation of 18 of United State~ Code IU.S.C.).Section~ ISeLI 1001 and 1018; (2)

      violations @ $250,000.00 per violation).

I)     PROOf Of ClAIM: 1hat the Under~igned 1\ a "PARlY TO" Named lherei" and/or is a Signatory to the
       "SOCIALCOMPACTS"known a~the UNIHD SlAllS and State of Maryland Con~titution.
                      .                          -                       -                    ..   ._ .. 0.- .

             "No private person ha~the right to tomplain by ~uit in court, on the ground~ of a breach of the
             Comtitution. The Con~titution it i~ true, i~ a compact, but he i~ not a party to il. The State~ are
             party loll." PADDL£fORDfAY & CO. V. THE MAYORAND ALDERMAN,CITYOF SAVANNAH,14'"
             GA. 438, 520, 211 U.S.78 (1854)."



3) PROOFOf CLAIM:That the under,igned i~"NAMED THEREIN"any Statute(,), Law(~),Code~(,) and the
       like. (See: THE PEOPLEV. HERKIMER,GENTLEMEN,ONE, AND COMPANY,4 COWEN345, 1825 N.Y.
        lEXIS80). (Violation of 18 of U.S.c., Sec. 241, 242, 1001, and 1621; (4) violatiom @ $250,000.00 per

        violation).

 4)        PROOf Of CLAIM: That the United State~ and the State of Maryland', Corporate Statut •• , law"
           Code" and the like, operate upon the Undersigned. (Violation of Title 18 of U.S.c. Sec. 1001 (1)

           violation @ $250,000.00).

     5) PROOfOf CLAIM:Of the "LIABILITY"of the Undersigned to the Statute',law~, Code~,and the like of
           the Corporate Government of the United State, and the Slate of Maryland. (Violation of 1B of U.S.c..
           Sec.241, 242, and 1001; (3) violatiom @ $250,000.00 per violation).


     6) PROOf Of CLAIM:That the Undersigned i, a "PARTYTO: Named Therein and/or I~a Signatory to any
           Valid/Lawful ContraC1and/or Agreement, duly Notarized along with a copy of the Notary Log to the
           Federal Corporate     Government and/or any of the Sub'Agencie,/Corporatlon"            i.e. the State of
            Maryland, or your agency. (Violation of 18 of U.S.c., Sec.1001; (1) violation @ $250,000.00).


     7) PROOfOf CLAIM:lhat a Corporation ,uch a~the United Slat•• and the State of Maryland, can allain
            parity with a ,entient, living, breathing, fie,h.and.blood man ~ucha~the Undersigned.

           "there eve-;Yman Is independent of all law~ except those pre~cribed by nature. He is not bound bY'\


       l
      8)
           any in~titution~ form.ed by hi, fellow man without hi, coment: CRUDENV. NEAL,2 N.C. 338, 2S.E.
           70 (1796).     ._._ ._ ..•                  ..   --------------.------

            PROOf Of CLAIM: That "WE THE PEOPLE"a~ cited in the Con~titutlon of the United State, and the
            State of Maryland, a~well a~cited in the enactment c1au~eof the Statutes, Law~,Code~,-andthe like
            referring to the f1e~h-and.blood men and women of the ~nlted State~of America and the Maryland
            Republic, and not the "Popular Leader~ who in all age~ have called them~elves, "THE PEOPLE".



                                                                                                                 BAWPage 2
      ConditionalAcceptanteForValueNo. 030S1968-1/CAFV.JC/
      IViolation of 18 of USC, Sec 1001; Title 4;> of USC,        SN. 1986;    p) violatioM @l$250,000.00 pcr
      violation).

9)    PROOf Of ClAIM: That the peoplr of Ihe Slate of Maryland, i.e. the flesh. and. blood men and women
      of the Maryland Republic were pre,ent at the commenccment and through the entire proceedings
      held under CAN. (Violation 01 18U.S.C., Sec 241, ;>42,872,1001. 1621,1622, and 2384; (6) violations

      @l$250,000.00 per violation).

10) PROOf OF CLAIM: That thr "Conduci of the Judge and Prosecutor on behalf of the People by the Sa"'l
       Mary', Counly Maryland Circuit COUrlas directed by Executive Act", did not in fact act on behalf of the
       Corporate State of Maryland, rather than on behalf of the II•• h.and.blood men and women of the
       Maryland Republic, and that it also was not a violation of the .SEPARATIONOF POWERSCLAUSES"of
       Ihe United States and the Stale of Maryland Constitutions. (See: PEOPLEEX RH LEONARDV. PAPP,
       192 N.W. 20 693, 383 MICH. 627 (1972). (Violation 01 18 of U.s.c., Sec. 241, 242, 1001, 1621, and
       1951; (5) violations@l $250,000.00 per violation).

 11) PROOF OF CLAIM: That the Undersigned is a resident (Belonging To) the State of Maryland
       Corporation, and/or the United States Corporation, or any sub.division/instrumentality       thereof, i.e.
       does the Undersigned reside within a liction, a construct of law, an abstraction.


 12) PROOFOf CLAIM: That there is a clause within the Constitution of the corporate State 01 Maryland,
       and/or the corporate United States, thai subjects a Private Man {Sovereign and Retaining Hi,/her
       Jurisdiction and Venue Within Themselves) to the Statutory Jurisdiction thereol. (Violation of 18 of
        U.S.c., Sec. 1001 and 1951; (2) violations @l$250,000.00 per violation).


 13) PROOFOF CLAIM: That the United States and the State of Maryland by becoming a Corporation "DID
        NOT" lay down their sovereignty and take on the character of a Private Citizen, and/or a Corporate
        Charter. (See: THE BANK OF THE UNITED STATESV. PLANTERS8ANK GEORGIA,9 WHEAT 244; U.S.V.
        BURR 309 U.S. 242). (Violation of 18 U,S.c. 1001; 28 U.S.c. 3002; (2) violations @ $250,000.00 per

        violation).

     14) PROOf Of CLAIM: That the Judge and Prosecutor under CAN had not taken and not filed with the
        Stale of Maryland, Secretary 01State (The Record Keeper). an Oath of Office Stating that he/she would
        defend and uphold the Conslltulion of the Uniled States and the State of Maryland. (Violation of 5
         U.S.c.,. 3331; Title 18 U.S.c., Sec. 1101(a)(3)and 3331; (3) violations @ $250,000.00 per violalion).


     15) PROOFOF CLAIM: That the Undersigned's rights did nol exist before the origination (crealion) of Ihe
         Slate of Maryland and/or the United Stales (See: HALEV. HENKLE,201 U.S. 43 AT PAGE 74 (1906)).
         (Viola lion of 18 U.s.c., Sec. 1001; (1) violation i~ $250,000.00).


     16) PROOFOF CLAIM: Thallhe Uniled Siaies Federal and the Stale of Maryland Corporalions, along wilh
         all Corporate City, County, and Township sub.divisions thereof are not operating under the National
     ••••••••••
         n_=                                           ••••
                                                         _ ••••••••••••
                                                                  ---------------
     ConditionalAcceptanceFor Value No. 03051968.1{CAFV.JC{                                            BAWPage3
   Bankruptcy a~declared in 1933, which wa~ a rr.iteration     of the bankruptcy declared in dating back to
                                                                                                0
   1801 and prjor.(~ee: ~ENAl£ REPORTNUMBER: 93.~49, DAlED NOVEMBER19, 1973, 93. CONGRES~
   J" SESSIONAT PAGE1 PAR. 1 AT PAGESJ87 & 549; EXECUTIVEORDER0073, 0102 0111 & 0200; THE
   TRADINGWIlH THE ENEMYACT,oS'" CONGRES~,SESSIONI, CHAPTERS105 & 100, OCTOBER0,1917,
   AND ASCODifiED AT 12 U.SLA. 9~(al; THE J9~0 BANKRUPTCYDECLARATIONAND RlORGANIZATION
   PLAN NUMBER: 20. ~ U.S.C.A. 903, Public law 94.504, AND THl LEGISlATIVl HISTORYTHERlOf AT
   PAGE 5907 STATING, IN PART THAT "THE SECRETARYor THl TREASURYWAS APPOINTED AS THE
   RECEIVERIN THE BANKRUPTCY").(Violation 0118 U.S.c., Sec. ]41, 242, 1001, 1021, and 19S1;Titie 42
   USc.. Sec. 1980; (0) violation~ @ 5250,000.00 per violation).


17) PROOFOF CLAIM: That the United State~ and the ~tate of Maryland are not In~olvent and Di~~olved
   of all Authority and Oflicial Capacity, Acting In Name Only, due to the contrived National Bankruptcy,
   al~o known a~ National Emergencie~ and Reorganllatlom.          (See: CONGRESSIONALRECORDVOLUME
   33,1933, CHAPTER11 REORGANIZATIONSOf THE UNITED STATES;26I.R.C. 16S(gl(1); WESTFALLV.
    BRADLEY10 OHIO 188; ADAMS V. RICHARDSON,337 S.W. 20. 911; AND WARD V. SMITH, 7 WALl.
    447, AMONG OTHER REFERENCES).(VIOlation of 18 U.S.c.. Sec. 241, 242, 1001, and 1621; (4)

    violation~ @ $250,000.00 per violation).

18) PROOFOf CLAIM: That the Government olthe SOState~, did not and ~tll1do not pledge the Faith and
    Credit thereof, i.e. the sweat and blood (a"els)      of the American f1esh-and-blood men and women,
    including the Undersigned,    3!1o   S.uretie~ to aid National rmergcncy    Contrivance!>, via the valuable
    In~truments known as Birth Certilicate~ (See: Any newly i~~ued Birth Certificate whereon 1\ states:
    "Thi~ i~ a very valuable in~trument") a~Collateral and that the State of Maryland and the United State~
    Governments being Incorporaled,          did not create a Corporate De~ignation from the di~linctive
     application, a~ wrillen on the Birth Certificate In the name olth.        Und.rsigned, and thus, make the
     Undersigned, a~ well as all oth.r         American f1.~h-and-blood    men and women, a ~urety and
     Accommodation     Party lor ~uch Corporate Entity, i.e. En~ Legi~, Cest Cue Tru~t, Strawman, Juristic
     Person, Fed.ral Employee, a~ well as numerous other Delinltlve term~ relerring to such. (See:
     CONGRESSIONALRECORDMEETING OF THE GOVERNORMAY,1933, AND THE BOOKOF THE STATES,
     VOl. SO).(Violation 0118 U.S.c., Sec. 241, 242, 1001, 1621, and 1951; (5) violation @ $250,000.00 per

     violation).

 19) PROOFOF CLAIM: That the "Charge(s)" in this case were laid upon the "Private Man" I.e. Brian-Arthur:
     W•••• ' and not upon a "CORPORATEFICTION", such as BRIANARTHURWHSE', or any/all derivative
     and variations in the spelling 01 said name except for Brlan- Arthur: Wee•• ' and the liability Imposed
     th.re from onto the "PRIVATE MAN" as though there was/is some Contract, Agreement, and the like
      wherein the .PRIVATE MAN" consented/agreed            to be a Surety and Accommodation         Party lor a
      'CORPORATE FICTION", lor in Actuality, that would be the only way that a Bankrupt, Insolvent, and
      Incorporated Government, such a~the Stat. 01 Maryland or the United State~. including, without any
      limitations th. Courts, Collectively, could Fraudulently do such a S.dltious Ac\. (Violation 0118 U.S.c.,
      Sec. 241, 242, 1001, 1621, and 1951; (5) violations @ $250,000.00 per violation).


                                                                                                       BAWPa8e4
  Conditional AcceptanceFor Valu. No. 030S1968-I/CAFV-JC/
101 PROOF Of CLAIM:That the Judge and P'OSNuto',                      at the tim,' 01 the entire proceeding     under CAN had
   an Indemnity          Bond posted to indemnify           their actiom     as to any injury that may have befallen the
   Undersigned.         (Violation 0118 U.S.c., 5ec.141,141,             8n, 1001, If>11, 1612, and 1951; (7) violations@

    $150,000.00         per violation).

11) PROOf         Of     CLAIM: lhat          the   Judge     and     Prosecutor    were     not    enforcing     the   National
    Bankruptcy/National           Emergency Contrivanles,           upon the Undersigned,    via the Criminal CHARGE(s) and
    Sentence.       (Violation 01 18 U.S.c., Sec. 141. 141, 1001(sl. 10Id(6.). 1951, 1961(a)(b), and 1964: (11)

    violatiom       @ $150,000.00         per violationl.

 111 PROOF Of CLAIM: That all Crimes/Court                  Actions are not commercial       as stated in part, within section
     n.ll       of Title 11 of the Code of Federal Regulations                (CFR). (Vioiation of 18 U.5.C., Sec. 1001; (l)

     violation @ $250,000.00).

 13) PROOF Of CLAIM: lhat                 the Judge and Prosecutor,        acting on behalf 01 Sain' Mary's (oun,y Maryland
     (Ifluit Court, the Corporate State of Maryland and the United States FedNal Corporation,                       did not know
     that what they were doing under CAN, was Beyond the Scope 01 their Corporate                               Charter, and that
     they did not have the Authority                 to violate the Good faith, Commercial             Law, Contract    Law, and
      Securities law, in binding the Undersigned                to an Undischargeable       contract to Incarcerate     him or his
      rights. (Violation of 18 U.S.C., Set. 241, 242, 1001, 1621, 1611, 1951, 23Bl, 2383, 2384, 2385, and

      2386; (11) violations £ $250,000.00              per violation).

             "A contract made by a ~orporation beyond the scope of ill corporate                   powe;-is Unlawful~'nd     volol
             ~.<?RMICK    V. MARKO NATIONALBANK, 165 U.s. 538 ....                                                .                 .J

   24) PROOF OF CLAIM: That the Court that adjudicated the ca,e under CAN was a "COURT OF
       CONSTITUTIONALDUE PROCESS", and not an "ADMINISTRATIVETRIBUNAL"administering                                       the
        National Bankruptcy per the ca,e . (Violation of 241,242,1001,1621,1611,                        19S1, 2381, 2383, 2384,
        23BS, and 2386; (11) violation,             @$250,OOO.OOper violation).

   15) PROOf OF CLAIM: lhatthe                 Bar Association Is not a British Organilation        and/or a Controlled
        Association, that i, an offshoot 01 the london                Lawyers Guild, thu, a Foreign PRINCIPALwould be
        controlling the Courts and Government                 Agencie, associated     therewith,    as well as All Judge"
        Attorneys,        Agent" Officers, and the like thereof. (Violation of 18 U.S.c., Sec. 241, 242, 1001, 1621,
            1622,1951,2381,2383,2384,2385,                  and 2386: (11) violations g $250,000.00       per violation).


    2/>1 PROOf Of CLAIM: That the Judge and Prosecutor                     as well as ALLMembers of the Bar, have not
            forieited   their United State, Citizen,hip by becoming a member of the Bar, in accordance                      with
            automatic      operation   of law, under Self-Executing, provisions of the 13'" Article of the Organil
            Constitution     for the !!nited States of America (1787), a, well a' duly propo,ed             at the Second Session



    ..$5_
       ....----- ....------ ....------- ..2------------- ..
            of the 11". Congress and Ratified in 1820. (See: U.S.C.A. TI1LE22 ~~ h 11-619; RABINOWITZ                              V.


    (ondltlonal A<teptante For value No. 030SI968.1/CAFV.JC/                                                                 BAWPage5
     K ENN I:IlY. J 71>\I ,S, 605. ~4 S, Cl. IllJ04); \I,S ,CII, 'I 111.1.I ~   S ~ ~ 1<)&:   lJSI: M.l".I., 751J.~18 S
     J(h)(l'l and 41al. IIMOMi     m
                                  III,R HE! ERENCES TO IOHEJ(,N HU,ISTHII'lION
     S'l II'II,MI,N ISHII VINlj TO III III Ell WITH '1'111:Sccrrla" "I Siair. IN ORDLIll                  II IlE IN
      II liS COliN I RY. H1'.PRESI-:N'IINl i II I lllU.1l iN PRINCIPII I. (Ill PO\\'EH), (Violation of 18
     U.~,L. ~e(. 2~1. 2~2, 1001. 1101(A). )(i21. 1622. 19~1, 2381. 2383. 238~. 238S. and 2386; (J]I
     violatio",    @ $2S0.000,00 per violation).


27) PROOf 01 CLAIM; That within CAN that the Judgment wa, not "COMMERCIAl PAPER"and wa, not
      depo,ited into a bank or wnverted into an item of Depo,it for the wmmercial benefit to the Judge
      and Prosecutor, (Court).County. State of Maryland. The United State,. and or the World Bank.
      (Violation of 18 U.S,c.. Sec. 2~1. 2~2. 1001, 1621. 1622. 19S1. 2381. 2383, 238~. 238S. and 2386;
      (11) violatio",   $2S0.000,00 per violation),


28) PROOFOf CLAIM: That the organic/De Jure Co",litution             i, the ,arne for the Maryland Republic. and
      the Organic/De Jure Con,titutlon     for the ynited State, of America, and the State of Maryland and
       the United State, are operating under the organic/De Jure Co",titution,           (Violation of 18 U,S.c.. Sec.
       1001(1) violation e $2S0.000,00).

29) PROOf OF CLAIM: That if the Judge and Prosecutor under CAN a' well a' ALL of the State of
       Maryland and the United States Government Employee,. Agents. Officers. Attorney'. Judges and the
       like (Hereinafter referred to as PERSONEl). were/are Operating Under. i.e, Defending and
       Upholding the Organic/De Jure Co",titution       for the Maryland Republic and the ynited States of
       America (1787). and not a Corporate Charter. and if the State 01 Maryland and the United State, are
        actually free Enterpri,e Republics. then would not the Judge and Prosecutor under CAN. a, well a,
        all the Attorneys and Judge" to thi, day. have or had a license to Practice law a' mandated by the
        Maryland De jure Constitution; (People Ex Rei Hughe, V. May. 3 Mich. 598 (1855)) Operating
        Procedures as the Prosecuting Attorney and/or PROSECUTINGATIORNEY (19~7. No, 803, Page 741).
        among other authorities. and in order to be or have been Doing Business As a Judge or Prosecutor.
        and In their Individual. Private Capacity. under a De Jure Constitutional Republic. and such a license
        would be or have been issued by • duly constitution. free Enterprise. Maryland Republic. Board of
         law Examiners within the Department of licensing and Regulations. where ali Professional licenses
         are issued. and such a Board would have been established by the legislature. as
         authorized/mandated     by Maryland Con,titution of 19&3. Article 4 ~ 1. as it i, the legislature which
         must give force to the licensing mandate of Article & ~ 14 of the Maryland Constitution of 1963.
         (See: THE lEGISLATIVERECORDSOF FEBUARY3. 1969. HOUSEOf REPRESENTATIVE
                                                                             BILLS:2115 &
         2116 WHEREIN SUCHA FREEENTERPRISE'L1CENSINGBOARD' WAS SOUGHT.BUT DENIED).
         (Violation of 18 U.S.c.. Sec, 241. 242. 100. 1621. 1622.2381.2383.2384.2385.               and 2386; (10)
         violations @ $2S0.000,00 per violation),


 30) PROOf OF CLAIM: That in keeping with the presumption of Operating Under. i.e. Defending and
         Upholding the Organic/De Jure Constitutio",        for the Maryland Republic and the l1nited States of
         America (1787). and this being a free Enterprise Republic. as referenced In PROOFOF CLAIM: 28 and
 ••u"""_"'Z __    &
                  __    ••••                          ""'                                                     ••••        •••


 Conditional Acceptancefor V.lue No. 030S1968-1/CAfV.JC/                                                         8AWPage6
   29, if the only License to Practice Law a Judge and Prosecutor need is to be on the Docket Roll of the
   Supreme Court, coupled with being a Member of the Bar A"ociation,            and as such they are deemed
   by the Bar (British Accreditation Regency) as an "OffiCE R Of lH~ COURl" (See: M.C.l. 600.901; IN
   RlLORD, 97 N.w. 20 2SS, 287; 7 CORPUSJURISSICUNDUM ~ 4, AMONG OlHfR AU1HORITlfS),
   would not such a litle of Nobility be in violation of the "NO lIT I ESOf NOBILITYCLAUSE,"Article I ~
   9, Clause 8 and Article I ~ 10, Clause 1 of the   r ederal Constitution   of the United States of America
   Inc. (l84S), and Would Not such a way of Licensing A Legal Profe"ion,         create a Monopoly, i.e
   "RULING CLASS"IN Violation of Article 4 ~ 4 of the De Jure/Organic Constitution for the ~nlted
   Statl's of America (1787). (Violation of 18 Us.c., Sec. 241, 242,1001, 1621. 1622,2381,2383,2384,
   238S, and 2386; (10) violations @ $2S0,000.00 per violation).


31) PROOf Of CLAIM: That under the "BAR RULES",All Judges such as the one that presided over CAN,
   would have to be a Bar Attorney before he could become a Judge and is this not a Violation of
   Anlcle 4 ~ 4 of the Constitution of the ),!nlted States of America (1787). (Violation of 18 Us.c., Sec.
    241,242,1001,1621,1622,2381,2383,2384,2385,              and 2386; (10) violations ~ $2S0,OOO.00per

    violation).

32) PROOFor CLAIM: lhat under their "NOBLE STATUS"within the ancient fellowship known as the
    "BAR" that the Judges and Prosecutor fOI CAN, as well as all "BAR" Judges and Attorneys, operating
    under monopoliled,    "RULING CLASS",are not operating under competing and conflicting interests,
    another fact ruled as being unconstitutional     by fellow Bar Judges. (S•• : CULVERV. SULLIVAN,446
    U.S. 33S, 3S0, 100 S. CT, 1708(1980); GLASSERV. U.s. 31S U.S. 60, 62, S.CT.4S7 AMONG O'THER
    AUTHORITIES).(Violation of 18 U.S.c., Sec. 241, 242,1001, 1101(a)(3), 1621. 1622, 19S1, 2381,
    2383,2384, 238S, and 2386: (12) violations @ $2S0,OOO.00per violation}.


 33) PROOFOF CLAIM: That all the "VIOLATIONS" of the De Jure/Organic Constitution of the Maryland
     Republic and the ~nlted States of America (1787), in order to usurp an Official/Seat In the
     Government/Judiciary,   including the ones which were held by the Judge and Prosecutor for CAN, as
     well as by all other Government Officials/Employees, whom have supposedly sworn .Oath of
     Affirmation to Uphold and Defend: the De Jure/Organic Constitution for the Maryland Republic and
     the gnlted States of America (1787, as Mandated by M.C.L lS.1S1 et. Seq. and U.S.C.A.Title 4,
     Section 101 & 102 et. Seq., does not render them void, and that any usurped authority of
     jurisdiction as well as any Decrees, Orders, Judgments, and the lik. i"ued/imposed         therefrom are
     not al,o void, as decided by "Fellow Brother and Sister Bar Judges," e.g.
        "If a coun Is without authority, Its judgment and orders are regarded as nullities. They are
        "VOID", and from no bar to a recovery sought, even prior to reversal in opposition to them. They
        constitute no justification; and all persons concerned in e.ecuting such judgments or sentences,
        are considered in law as trespassers." (See: ElLIOT V. PIEROL,1 PEl. 328,340; 26 U.S. 328. 340
         (1828)),
                  ----------                  ----------- --------                                    -
      (Violation of 18 U.S.c., Sec. 241, 242, 1001, 1621, 1622, 19S1, 2381, 2383, 2384, 238S, and 2386; (11)
     violations @ $2S0,000.00 per violation) .


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                                                                  - .•••.
                                                                       ----------
 Conditional AcceptanceForValue No. 030S1968.1/CAFV.JC/                                                BAWPage2
341 PROOf Of CLAIM: That,i the Court ha, "NO AUlHORITY or JURISDICTION"over the Undersigned or
   owr CAN, via each of the violations of the De Jure/Organic COMtitutioM          for the Maryland Republic
   and the !!nited State, of America (17871 as well a, Federal COMtitulion           on the United States of
   America Inc. (1846). Ihatthl'   Judgl' and Prosecutor, a, well.,    all whom have adv"ed and acted with
   Ihem, to commit the moral wrong' of "UNLAWf Ui INCARCl RAliON" of the Undersigned, thu, having
   the liability oi iMUllng that what the Judge and Prosecutor did by incarcerating the Undersigned
   within their supposed jurisdiction, was "LAWf ULand CONSTIl UlIONAL," and if left unchecked, would
    be the same a, making a stalement for the Record via, this (CAfV), that every flesh-and-blood man
    and women in this country i, just susceptible to thE "MORAL WRONGS," that have been perpetuated

    upon the Under,igned. e.g.

                   _. ------_ _.------•.•                               -------------------
       "Whenever a Judge or Attorney acts where he/she does not have jurisdiction, the Judge and
       Attorney are engaged in an act or acts of Trea,on, and any Judge or Attorney who does not reject
       the Judge and Attorney for "TREASON" a' required by law may them,elves be guilty of Misprison
       of Trea,on: COHEN V. VIRGINIA, 19 U.S. (6 WHEAT) 264, 404;5 L.ED. 257 (1821); AND
       REAFFIRMEDUNDERU.S. V. WILL 449 U.S, 200, 216; 101 S. CT. 471; 66 L. ED. 2D. 392, 406(1980).
       (See: also 18 U.S.C.A. 2382 - MISPRISONOf TREASON;AND 18 U.S.C.A. 2, 3 AND 4 - MAKING
       SUCH NON-REPORTINGJUDGES, ATIORNEYS, OR ANYONE THAT HAS KNOWLEDGEOF SUCH
        CRIMESA .PRINCIPAL IN THE CRIMINAL ACTIVITY"):..,                           .                   J


   35) PROOF Of CLAIM: That "ANYONE" including the Judge and Prosecutor for CAN, has filed a
       "SUPERIORCLAtM" which is Certified and State Sealed within the Uniform Commercial Code (UCC)
       Division, of any Secretary of State, that supersedes the Filing by Secured Party Creditor, Brian. Arthur:
       W••••.. , i.e. File Number 201606060267849, whICh ha, been duly recorded, Indexed, and Certified
       and i, under State Seal on a national filing form within the UCCDivision. of the New York Secretary
       of State Office, thereby "SECURING" all of the assets of the DEBTOR.BRIANARTHURWEESE. and
       any/all derivatives and variations in the spelling of said name, except for 'Brian- Arthur: Wee,e' . Thi,
       Superior Claim includes "ALL" of the deblors Properly/Assets. tn include any/all things used 10
       identify tbe DEBTOR. i.e. Social Security Aecounl Number; l'.lJ.S.I.I'.IAlJTOtr;, Number. and/,,,
       uoything associated with the name of the DEll'! OR_ al,o to include without lirnilations. and Bond,
       issued under tbe DEBTOR',            name including those that were fraudulently crea'l-tl using tbe name
       (propertyl of Ihe DEBTOR. (Violation of 18 U.S.c., Sec. 241, 242, 1001, 1621. 1622, 2381, 2383.
       2384,2385, and 2386; (10) violations @ $250,000.00 per violation).


  36) PROOFOf CLAIM: That there is no such UCCFiling, i.e. Private Agreement Number: 030S1968-BAW-SA;
      Hold Harmless and Indemnity Agreement Nomber: 030S196B-BAW-HHIA;Common Law Copyright
      notice Number: 030S196B-BAW-CLC;
                                     filed and recorded under State Seal with the State of New York,
      Secretary of State Office 201606060267849,            wherein a copy of said documents are the initial
      documents (the remedy put in place by the Government) to provide the flesh-and-blood              man and
      woman a way to remedy themselves of the fraud of the Government, some of which has been
      disclosed throughout this CAFV. and is the basi, of the Antecedent claim, for per Maxim of Law on
      fraud, "They had to leave the people a way oul, or all cover of legitimacy." (Violation of 18 U.S.c., Sec.


  _.._--_ .••.........••....••......•..._-----,.,,-----_ ....-_...._--------_ ..
  Conditional Acceptancr for Value No. 030S1968-1/CAFV-JC/
                                                                                                       BAWPose8
   ~41, ~4~, 1001, 1621, 1622, 2381, 2383, 2384,2385, "nd 2386; (10) violation~ @ $250,000.00            per

   violation).

37) PROOf OF CLAIM: ThaI there are not over 3 million ~uch uce filing~, related to the Redemption of the

    fraud of the Government. Nationwide.

38) PROOFOF CLAIM: That if these document. duly filed and recOIded under State Seal a. stated above
    in PROOf OF CLAIM 35 & 36 are fraudulent why are they considered Legitimate by the Secretary of
    State, for the State of New York, and the Undersigned not being prosecuted for creating Fraudulent

    documents.

39) PROOf OF CLAIM: That the Judge and Prosecutor under CAN was not looking fOlthe Undersigned to
    "ACCEPT fOR VALUE" or hanOI the Charging Instrument/Presentment              in accordance with UCC ~ 3-
    410, and due to all Court Actions Being Commercial (U.5.C.A. Title 27) and Statute being a Bond (Sec:
    BLACK'SLAW DICTIONARY4'" EDITION REVISED)which is an abbreviation for "STATUTEMERCHANT,"

    which i"

                 a. A security for a debt acknowledged to be due;
                 b. A bond for Commercial Debt (See: J.H. BAKER,AN INTRODUCTIONTO ENGLISH LEGAL
                       HISTORY,354 3.0 EDITION 1990) and that the Complaint Information of Indictment i~ not
                       a three-party draft, Commercial Paper, under Anicle 3 of the UCC,and that the Judge and
                       ProsecutOl is/was Not the Drawer or Maker by their signature, and that the Undersigned,
                       f1esh-and-blood-man, though not having such knowledge at the time, was/is not deemed
                       the Surety, and the COMMERCIAL PRESENTMENTwas not made in accordance with UCC
                       ~ 3-501(1), Presentment is Necessary to Change Secondary Parti •• , and because th.
                       Undersigned did not know at the time, of the underlying fraud, and did not Accept the
                       Charges of Presentment, For Value   01   HanOI, that the Undersigned was not deemed In

                       dishonor;
                 c.    That the Undersigned was not then deemed to be in dishonor fOl non-acceptance by the
                       Judge and Prosecutor, in accordance with UCC~ 3-50S(c) and UCC~ 3.501(2). (a) and (b)
                       and that the Undersigned Is/was not made the fiduciary trustee of the DEBTOR,Ens Legis,
                       in this fraudulently created capacity, was the Undersigned was not made responsible to
                        discharge the debt of the DEBTOR, Ens Legis by operation        of Law, Where as the
                        Undersigned being made the PRINCIPAL 01 Asset Holder on the Private Side of the

                        Accounting Ledger; and
                  d.    That the Undersigned was/i. not holding the Exempllon necessary, to discharge the debt,
                        based on the "ANTECEDENT CLAIM: which has been "REDEEMED" via the UCC Filing
                        referenced with PROOf Of CLAIM 35 of this CAFV_

      (Violation of 18 of U.S.c., Sec. 241, 242,1001,1621,1622,1951,2381,2383,2384,2385,238&;               (11)
      violations @ $250,000.00 per violation).


  _..••._--_ .......•....------_ ..•._----_ •••..•..•....•._..•._-----------
  Conditional Ac,eptanco For Value No. 0305196B-l/CAFV.JCI                                           BAWPase9
40) PROOFOF CLAIM: That becau,e the Undersi~ned did not accept the Charge, of Pre,entment                 For Value
   or Honor, pre,ented by the Judge and Prosecutor under CAN,thu, the Undersigned being deemed in
   Oi,honor, and th. Court/GovNnment           not being Able to u,e the Undersigned', Exemption, at the time
    to pass the debt or Charge, through the Auount of the DEBTOR,En>legi',to               obtain a di,charge, that
    the Oi,honor i,/wa,    not ,old to the Federal Court a, all Stale Court Judgment,/Oishonor             are, and
    thNeafter sold a, Stock/Shares, which have a extensive value per charge. (Violation of lB USc., Sec.
    241,242,1001,1621,1622,19;1,            23Bl, 2383, 23B4, 23B" and 23B&; (11) violations G $2,0,000.00

    per violation).

411 PROOFOF CLAIM: That when a Social Security Account Number i, assigned/issued, thai a Blank Bond
    i, nol issued and when the Undersigned wa, arre,ted and Ihere after impri,oned, Ihalthi,              Bond wa,
    nOI filled Oul and thatthi,    Bond i, not called a "BID BOND", Standard Form 24(SF24) and that it i, nol
    pre,cribed   by Ihe General Service Admini,tralion         (GSA), and thai thi, is nol al,o referred to a, a
    "PRISON or PENAL BOND", a, well as a "CONTRAC1 SURE1\' BOND" and Ihal                              a follow.up
    "PERFORMANCEBOND" Siandard form 25(SF25) and "PAYMENT BOND" Standard Form 25A(SF25A)
    were nol filled out. (Violation of lB U.S.c., Sec. 241, 242,1001,1621,1622,            23Bl, 2383, 2384, 23B5,
    and 2386; (10) violation, @ $250,000.00 per violation).


42) PROOFOF CLAIM: That everything i, nol being run under the "LAW MERCHANT" under UCC ~ 1.103.
    (See: ALSOSEC110N1775.04 or TI1lE 17 U.S.C.A.- CORPORATIONS;THEAOMINIS1RATIVE MANUAL
     or THE INnRNAl        REVENUE SERVICE,WHEREIN UCC ~ 1.103 IS QUOnD                         AND PART OF THE
     MARYLAND REVISEDCODETHAT STAnS THAT "RULESor lAW AND EQUm, INClUDING THE "LAW
     MERCHANT" ARE10 GOVERN"). (Violation of 18 U.'.c., Sec. 241, 242, 1001 1621,1622,2381,2383,
     2384, 23B5, and 23B6; (10) violation,         @ $250,000.00    per violation).


 43) PROOF or CLAIM: That all factual information                  Contained within   thl, CAFV pertaining    to thi,
     Securitie,/Fraud cannot be retrieved from the federal Circuil Court website, a, the Undersigned ha,
     done exten,ive stud ie, through lawful channel,. And I, it not true that this web,ite i, Restricted to
     Public Access, and thatthi'     re'trictlon    can be ob,erved by ,Imply doing a computer ,earch typing in
     the CUSIP,and I, It not so that the name CUSIPI, not derived from the American Banking Association',
     (ABA) _ Committee on Uniform Securitie, Identification,               and that CUSIP I, not the trademark        of
     Standard and Poor', which operate, a licen,e agreement with the ABA and I, at the ,a me address a,
     the Depo,itory    Trust Clearinghou,e,         which Is the c1earinghou,e for all good"       commodities,   and
     Securities, and i, also referred to as the Global Clearing Network (GCN) and the Defined Contribution
      Clearance and Settlement (the DCC&S),among other names, which are the clearing house for all the
      share, and ,tocks sold through the Corrections Corporation of America and the Paine Webber Group
      and, that if a computer search was done on the Pain Webber Group, that one of the 20 largest
      companies would not be called "PRIVAn PERSON",and thatthi,                  cannot also be verified under Re'gi,
      CastellanI's Transformation Corporation website, Le. www.transnational.org/pays/usa.htm                and thai
      the london based U.B.S.Warburglnvestment              Banking Division of the U.B.S.,which was started by the
      Paul Warburg, which owns and controls the World Bank, that started/owns                   the Federal Reserve,
      which Is part of the Securities Scheme, that funds the Privatized Prisons and that is one reason why

                                                                                                          BAWPaiie10
  Conditional AcceptanceFor Value No. 030S1968.1/CAFV-JCI
   the Federal Court website has a Public A«ess Restriction on ,I, and not because the shares and stocks
   which were supposed to be sold to th,' Public, are actually sold to a seleet group of Corporations, and
   Mortgage Backed securilies as a cover and thelf select corpo.-liom       are hoarding all the shares and
   slOcks so the public cannOI view them via computer search, and that the American legislative
   Exchange Council (AlfC), owned by Paul Weyrich of the free Congress loundation,             who bragged
   aboul helping to enact the Truth In Sentencing, and the Three Strikes Laws, thereby was Cleating a
   means to keep a steady flow 01 prisons within the Privatized Prison System, which is why Correction
   Corporation 01 America and Wackenhut has paid hundreds at thousands 01 dollars in exchange for
   privileged position on the ALEC'sCriminal Justice Task Force, and the General Accounting Office and
   General Service Administration   (which are under the Comptroller of Currency), and heavily involved
   in the Accounting     aspeet of the Securities Scheme, and is why they supply all the "BID",
   "PERFORMANCE", and "PAYMENT BONDS". (Violation of 18 U.S.c., Sec. 241, 242,1001,1621,1622,
   1951,2381,2383,2384,2385,        and 2386; (11) violations@ $250,000.00 per violation).


44) PROOFOF CLAIM: That the Undersigned cannot as the "Holder In Due Course" of the bonds (that were
   fraudulently created by all parties disclosed this far in this CAfV). take the information from the Circuit
   Court Website, as to who currently has the Bonds, and amounl thereof,               and submit a "BID",
    "PERFORMANCE", and "PAYMENT BOND," as well as an International Bill of Exchange (As Good As
    Aval). which is lawful, due 10 the United States becoming a party to the Uniled Nations Committee on
    InternalionalTrade   Law (UNICITRAL)in 1989, and Ihereof discharge the debt which was Fraudulentiy
    imposed upon the Undersigned. (Violation of 18 U.S.c., Sec. 241, 742, 1001, 1621, 1622, 19SI, 2381,
    2383,2384, 238S, and 2386; (II) violations @ $2S0,ooO.00 per violation).


4S1 PROOf Of CLAIM: That the Judge and Prosecutor under CAN, did not commil                    Constitutional
    Impermissible Mis-Application of the Statutes in this case to work as a detriment to the Undersigned.
    (Violation of 18 U.S.c., Sec. 241, 242, 1001, 1621, 1622, 19S1, 2381, 2383, 2384, 238S, and 2386; (11)
    violations @ $250,000.00 per violalion).

46) PROOFOF CLAIM: That the Judgment 01Sentence rendered by the Judge under CAN, is not VOID from
    inception   and as to why the Undersigned should not be released of all implications               thereof
    immediately, due to all of the Fraud underlying such judgment. and although the Undersigned could
    go about discharging the Fraudulent Monetary Debt, underlying the Judgment, i.e. going through all
    of the formalities which are really unnecessary "When The facts Of fraud Make The Judgment VOID."
    (Violation of 18 U.S.c., Sec. 241, 242,1001, 1621, 1622, 1951, 2381, 2383, 2384, 2385, and 2386; (11)
    violations @ $250,000.00 per violation).

 47) PROOf Of CLAIM: That you do not have the duty and Obligation to produce and provide the
     Undersigned the PROOFOf CLAIM as requested, pursuant to the "Clean Hands Doctrine" and "Good
     Faith" dealings with the Undersigned, and because some of the PROOf OF CLAIM relate to Securities
     Fraud, which playa    part in the Unlawful Incarceration of the Undersigned, the mandates of the
     Sarbanes-Oxley Act of 2002, H.R. 3763,107" Congress Second Session, which also apply to you as a
     Judge and Prosecutor of the Saint Mary's County Maryland Circuit Court, and Other Involved and which

                                                                                                   BAWPaBO
                                                                                                         II
 Conditional AcceptancoFor Value No. 030S1968.I/CAFV-JCI
    P,e~ident Bu~h 5igned into law to combat among other thing5, Accounting and Securitie5 fraud.
    (Violation of 18 U.s.c., Sec. 1001 and 1951; (2) violatiom @> $250,000.00 per violation).


                                                 CAVEAT
             Plea~~ under~tand that while I want to re~olve thi~ mati.,   quickly, I can only do ~o upon your
"off,cial"     re~ponse providing the above PROOf Of CLAIM in the matler as to the action being lawful,

proper and constitutional.
         Bccause the Court(s) has dealt with a Corpor.t. Entity and not the filed 5ecurt'd Pany/Creditor
{natural man) and failed to s.rve NOTICE that it was doing 50, {See U.c.c. ~ 1-201 (26) and (271l, and that
it be placed on "r.cord"   See U,c.c. ~ ,-102(n); it ha, .ffectively created a "fault"; 15ee U.c.c. ~ 1-201
(16)) a~ well a~ a breach of "good hlth", {See U.c.c. ~ 1-201 (191l. No unctlon(s) can be imposed upon
this Secured Pany, how.ver the "STATE Of MARYLAND" Cause does leave this "aggrieved party"
opponunity to file for remedy (relief) as the undersigned may see fit. As well as the rights afforded by
U.C.C ~ 1-106 (1)(2), 1-201 (34)(36) and the State and f.d.ral     Constitution.

             Therefore, not being a 5ignatory to the fEDERALCONSTITUl ION of State of Maryland Corporation,
not a pany to your "Social Compact", and not being named in your statutes, and/or notice of agreement
between the State of Maryland or the United States with the Undersigned, the Undersigned did not and
doe5 not understand the nature of the jurisdiction imposed by the State of Maryland In respect to the
judgment received, or the commercial nalUrt' of some involving commercial paper, bond5, etc. created by
 the Judge or others on request to the above case.
              Should you fail to provide the requested PROOf Of CLAIM. you would fail to state a claim upon
 which relief can be granted, and you will have stipulated to all the fac" as they operate in favor upon the
 und.rsigned, i.e. that the Undersigned is not a signatory, nor pany to the social compact (ConstitutlonJ of
 the State of Maryland and said Constitution does not operate upon the Undersigned and that the Judge
 and Prosecutor for the Saint Mary', County Maryland Ciltult Courl under CAN, committed constitutional
 impermissible application of the statute(s)/Iaws in CAN, and you also agree that injury was done to the
 Undersigned, via Misapplication of the Statute(,), Malicious Prosecution, Conspiracy, libel, slander, and
  fraud, and you agree that the Underslgn.d I~due damag.s via ton,

           If you fail to respond and/or provide PROOf Of CLAIM to any/all of the fony-s.ven (47) requ.sted
  claim~ contain.d her.in, this will constitute your agr.em.nt that any remaining Judgment/monetary
  penalty may be "Accepted for Value" and Returned for Discharge by Bonds, International Bill of Exchange,
  Promissory Note, or any other appropriate commercial Paper, to allow the ~etoff/adjustment and
  exchange of Credit/Discharge of CAN, and that I Secured Party Cr.ditor, Brian. Arlhur: W•••• " the
  Authorized R.pres.ntativ.,      and Attorn.y-in.fact for the Defendant/DEBTOR BRIAN ARTHURWEESE',
  h.reby call~ for the return of the Bonds (Bid, Payment, & Performance Bonds) issued by the Saint Mary's
  County Maryland Clltult Courl, und.r CAN, and you Respond.nt, as Chief Judge, agree that I may proceed
  directly to the U.S. District Coun for the Commercial Vess.1. Lt'. BRIANARTHURWEESE', and that the
  undersigned Is due reparations and damage~ via Ton.
           Brian. Anhur: Weese' will exercls. his right to verify any proof, discovery, evidence or otherwise
  (in the nature of his right to challenge jurisdiction at any time). as to the entire matter, per hi, right within
  "The Due Process of Law" and therefore this private process is proper in obtaining such "evidence" and
  to challenge any false claims, charges, or otherwise.


  --------_ .•.•.._----------------
   Conditional Acceptancefor Value No. 030S1968.1/CAfV.JC/                                             BAWPage12
           Respondent        as the Chief Judge for the Saint Mary', (OUntl' Maryland ("cuit                     Lourt, and as such, having
superior     knowledge       of the law necessary             to provide      the PROOFS OF CLAIM requested                     herein     by the
Undersigned      thereby      providing     evidence     that the action was lawful, proper,              constitutional,       and there was
no misapplication          of the Statute(s),       law(sl.     Code(s), or the like. and how the Undersigned                     can lawfully
"Pay Debt(s) at law".          including    judgments         with Constitutional          money and not be tricked          into becoming           a
lOr! Feasor, by the State of Maryland.                (See: ARTICLE 1 SECTION 10 - U.S. CONSTITUlION).

            Respondent       as the Chief Judge for the Saint Mary', (ounty Maryland ("cuil                        (ourl,   must reply within
Thirty     (30) DAYS, providing         PROOF or ClAIM              both to the Undersigned            and to the Third-Party            witness's
addresses below, and should you go into fault. you will be given THREE (31 DAYS to cure your fault of non.
response,      If you fail to cure your faull, you will be found in default                     and will have established          your default
and dishonor          of this counter-offer       to the original       offer indictment        in the record.

            The defaulting         and dishonoring       party will be foreclosed            by laches and estoppel         from maintaining
 or enforcing        the original offer in any court or administrative                unit and you aglee that the Undelsigned                    may
 exelCise      his     exclusive     remedy        as to      the     stipulated      and     agleed     upon,      Misapplication          of   the
 Statute(s)/law(s)/Code(s)             or the like, Malicious           PlDsecution,       Conspiracy,    libel, slander,       and Fraud, and
 other Violations        of the Uniled      States Codes and Statutes              via maritime      action and/or      Tort.

            Such rights or obligations            ale secured,        pleserved     or denied by the Constitution               to prevent       such
 abuses by Government               Officials    by their oaths to support           said Constitution      (67 CJS, OFFICERS, SECTION,
 46 OATHS}. The penalty              of such violations         are defined        under    18 U.S.c. 3S71, and individually              listed for
 each violation          {$100.ooo.ool          each violation        or lIespass      listed     as a misdemeanor,             18 U.S.c.        3S71
 ($2S0.0oo.oo}.         for each lIespass        or violation       listed as a felony,

     THE ABOVE MENTIONED                   IS JUST A START OF VIOLATIONS THAT SECURED PAR1Y HAS SUFFERED IN
  liME     FROM OFFICER'S, EMPLOYEES, AGENTS, ALIENS FROM THE STATE Of MARYLAND. THIS SECURED
  PARTY BY HiE STATE Of MARYLAND                       HAS BEEN REDUCED TO PEONAGE AND INVOlUNTARY                                    SERVITUDE
  UNDER FRAUDULENT, TYRANNICAL, AND SEDITIOUS ACTIONS.

     ANY ACT (OR FURTHER ACTS) OF DETENTION, ARREST, INCARCERATION, OR PHYSICAL HARM TO THIS
  SECURED PARTY HEREAFTER IS ASSIGNED THE MINIMUM                                            MONETARY       VALUES AS PER PRECEDENT
  ESTABLISHED BY {TRE2EVANT-V.                     CITY Of TAMPA,           741 D. 2D 336 (19B411; $2S.ooo.oo                   PER 23 MINUTES
  PERIOD, I.E. $6S.217.91            PER HOUR, PLUS PUNITIVE DAMAGES IN AMOUNT                              DECIDED SOlElY BY SECURED

  PARTY'S HEIRS OR ASSIGNS.
     "SECURED PARTY IS AUTHORIZED 10 REGiSTER THIS CAFV IN THE COMMERCIAL                                                   REGISTRY AND MAY
   USE CAFV AS THE SECURED PARTY'S DISCRETION IN ADMINISTRATIVE                                        OR JUDICIAL CLAIM AS NECESSARY
   BY THE SECURED PARTY TO OBTAIN INJURY/DAMAGES                                   THAT WERE PERPETRTED AGAINST DEBTOR,"

              AS AN AGENT OF THE UNITED STATES, THE DEFAULTING OR DISHONORING PARTY, WILL SPEAK
   FOR THE STATE OF MARYLAND                      IN THIS MAnER,           AND BINDS THE STATE            or     MARYLAND AND THEMSELVES
   PERSONAllY VIA THEIR BREACH or                    DUTY TO ANY/All               MONETARY        DAMAGES FOR THE INJURIES AS SO
   STIPULATED BY YOU RESPONDENT, CHIEF JUDGE.

               SilENCE CAN ONLY BE EQUATED WITH FRAUD WHEN THERE IS A LEGAL OR MORAL DUTY TO
   SPEAK OR WHERE AN INQUIRY                       LEFT UNANSWERED                 WOULD        BE INTENTIONALLY            MISLEADING           {U.S.V
   TWEll,       S50 F. 20.287         (1997))      NEGLECT OR REFUSAL ON THE PART OF CHIEF JUSTICE AND/OR                                            ANY
   AGENT(S),ALlENS            FOR THE STATE OF MARYLAND                        SHAll        BE DEEMED       KNOWING             AND VOLUNTARY


                                                                                                                                          BAWP.se13
   Conditional Acceptan,e for Value No. 030S196B-l/CAFV-JCI
WAIVER OF "ANY. OFFICIALIMMUNITY (REMOVING THE CORPORAl[ VEil) AS YOUR CONSENT BY
TACITADMISSION (AGRUMENTI TO BE SUED.




                                  ACKNOWLEDGEMENT
          In compllancewilh TiUe 2B U.~.c. ~ 1746(1), an~ •• etilled WITHOU1THE UNITEDSTATES,I affirm
under Ihe penaltie, 01 perjury, and to the law, of 1M De Jure llnited State, of America, that the (or"loing
i, true, co"ect, and complete to the be.t of my belief and Informed knowledce. And Fur the, the Oeponent
Saith Not. I now .110. my Sigruturc and Official Scaito the above Oocument with EXPLICITRESERVATION
OF AU MY UNALIrNABLERIGHTS, WITHOUT PRUUDICE TO ANY OFtHOSE RIGHTS,in compliance with

 UCC ~ 1-308:                             &       C&"'=    fHh-lN~_. _
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                                        BRIANAA~UI\ WtES['
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    Conditlon.1   AeUPtanu   For Vllue No. OJOS196B.l/CAfV•      /




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